Case 19-34574-KRH          Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                   Document    Page 1 of 69



                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division

 In re:
                                                   Case No.: 19-34574-KRH
          LeClairRyan PLLC,
                                                   Chapter 7
                 Debtor.

 Lynn L. Tavenner, as Chapter 7 Trustee,

                           Plaintiff,              Adv. Proc. No. 21-
 v.
                                                   ORIGINAL COMPLAINT
 Charles Erik Gustafson,

                           Defendant.


                            TRUSTEE’S ADVERSARY COMPLAINT

          Lynn L. Tavenner, Trustee, and not individually but solely in her capacity as the Chapter 7

 trustee (in such capacity, “Ms. Tavenner” and/or the “Trustee” and/or the “Plaintiff”) of the

 bankruptcy estate (the “Estate”) of LeClairRyan PLLC (“LCR” and/or the “Debtor” and/or the

 “Firm”), in the above-referenced Chapter 7 case (the “Case”), by her undersigned counsel, brings

 this adversary proceeding against Charles Erik Gustafson (the “Defendant” or “Gustafson”)

 seeking not less than $41.9 million and alleges as follows:

                                         INTRODUCTION

          1.     The Trustee files this lawsuit to both recover improper distributions of substantial

 sums of money made to shareholders, employees, partners and other third parties and to recover

 the losses caused to the Debtor and its creditors by the breach of fiduciary duties by the Debtor’s

 former officers and directors, including the Defendant.

          2.     The Debtor was insolvent no later than September 3, 2014 and remained insolvent

 until it filed for bankruptcy on September 3, 2019 (the “Petition Date”). Despite the Debtor’s
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                 Desc Main
                                 Document    Page 2 of 69



 insolvency and inability to pay general operating expenses and other creditors, it incurred

 immense debts and transferred tens of millions of dollars to shareholders, employees, partners,

 tax authorities and other third parties, including approximately $786,261 to the Defendant.

          3.    As a shareholder, member and director of the Debtor, the Defendant owed a

 fiduciary duty to the Debtor. Moreover, once the Debtor entered the zone of insolvency, the

 Defendant owed a fiduciary duty to the Debtor’s creditors.

          4.    As a shareholder, member and director, the Defendant was privy to LCR’s

 deteriorating financial condition and knew or should have known that the Firm was insolvent.

          5.    In fact, at least between September 2017 and July 24, 2019, the Debtor’s Board of

 Directors, later, the Board of Managers, (the “Board”), met on no less than 70 separate

 occasions. At these meetings, the Board was repeatedly informed of the Debtor’s “poor”

 financial state that only deteriorated further throughout this period. Not only was the Debtor

 insolvent at this point but the Board was confronted with a continuing spiral of negative results,

 including shareholder departures, multiple breaches of loan covenants, decreasing lawyer

 utilization rates, rising office vacancies and accounts receivable write-offs. The logical result of

 this was a firm that accumulated negative cash flow of tens of millions of dollars on a year-by-

 year basis.

          6.    Nevertheless, the Board and the Defendant repeatedly took actions that either

 favored their own personal interests or those of individual stakeholders. Rather than fulfilling

 their duty to the enterprise and its creditors, the Board worked against the best interests of the

 Firm, continually diminishing, transferring, and/or liquidating Firm assets, often enriching

 themselves or certain other shareholders/members, and leaving the Firm with millions in

 liabilities.


                                                  2
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                 Desc Main
                                Document    Page 3 of 69



        7.      Additionally, as the Firm continued to default on basic operational payments and

 watched collections and receivables plummet, over and over again the Board turned a blind

 eye—and even approved, in some cases—new ventures that saw the Debtor become more and

 more entangled with its new partner, United Lex Corporation (“UnitedLex”). Although

 UnitedLex was touted as a saving grace for the failing Firm, it would proceed to become nothing

 but a further drag on the Debtor’s balance sheet. The Board also continuously fell victim to

 UnitedLex’s interests, as in April 2019 when it converted a ULX Partners, LLC (“ULXP”)

 accounts payable to a promissory note.

        8.      Still, the Board and the Defendant proceeded to approve key structural changes

 the net effect of which was to facilitate certain payments and tax advantages to

 shareholders/members while saddling the Firm with a multi-million-dollar tax bill that it could

 not afford to pay.

        9.       In particular, between 2017 and 2019, the Board and the Defendant approved

 improper expenditures and payments with respect to (i) the Firm’s retirement plans, including a

 Deferred Compensation Plan (the “Deferred Compensation Plan ”), a Supplemental Retirement

 plan (the “SERP”) and a 401(k) plan, (ii) shareholder dividends, (iii) discretionary bonus

 payments, (iv) shareholder life insurance policies, (v) Soft Landing Contracts (“SLCs”) for

 retiring shareholders and/or executives (vi) the Debtor’s conversion from a C-Corporation to a

 PLLC, (vii) unnecessary lease agreements, and viii) the failed pursuit of a new venture to be

 titled Novellus Law Group (“NLG”).

        10.     At all times while these expenditures, payments and transactions were being

 pursued and/or incurred, the Board and the Defendant (i) owed a fiduciary duty to the Firm’s

 creditors, (ii) breached this fiduciary duty by failing to discharge their duties with due prudence


                                                 3
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                  Desc Main
                                 Document    Page 4 of 69



 and care in approving improper transfers and/or by other actions and inactions, and (iii) damaged

 the Firm and its creditors.

        11.     Moreover, the Board and the Defendant approved distributions by the Debtor in

 excess of what was authorized under law and the Debtor’s formational documents and approved

 retirement plans. These distributions were approved in violation of a director’s standards of

 conduct pursuant to Section 13.1-690 of the Virginia Code.

        12.     The Defendant’s breach of fiduciary duty harmed the Debtor in an amount no less

 than $41.1 million.

        13.     Moreover, the Defendant accepted, and continued to accept, fraudulent payments

 that were specifically conditioned on the Firm achieving certain levels of profitability—levels

 that the Defendant knew or should have known LCR would not be able to reach.

        14.     These payments, which were made to the Defendant in addition to his regular

 salary, were made (a) with specific fraudulent intent as evident by requisite badges of fraud;

 (b) in violation of operative agreements and applicable law; and (c) on account of equity, and

 therefore, were transferred for no consideration, less than fair consideration, or less than

 reasonably equivalent value to the Debtor.

        15.     Accordingly, in addition to damages arising out of the breach of fiduciary duty

 claims, the Trustee also seeks judgment against the Defendant to recover these payments, which

 equal not less than $786,261 plus interest, fees, and costs as allowed by law.

                    JURISDICTION, VENUE, AND LEGAL PREDICATE

        16.     This Court has jurisdiction over the subject matter of this adversary proceeding

 pursuant to 28 U.S.C. § 1334 because this is a civil proceeding arising in or related to the Debtor’s

 Case (under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)). This


                                                  4
Case 19-34574-KRH           Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                      Desc Main
                                    Document    Page 5 of 69



 adversary proceeding has been referred to this Court pursuant to 28 U.S.C § 157(a). This

 adversary proceeding is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2). The Trustee

 confirms her consent, pursuant to Rule 7008 of the Bankruptcy Rules, to the entry of a final

 order by the Court in connection with this Complaint to the extent that it is later determined that

 the Court, absent consent of the parties, cannot enter final orders or judgments in connection

 herewith consistent with Article III of the United States Constitution.

           17.     Venue is proper in this District and this Division pursuant to 28 U.S.C. §§ 1408

 and 1409.

           18.     The legal predicates for the requested relief in this adversary proceeding are

 Sections 544, 547, 548, and 550 of the Bankruptcy Code, Fed. R. Bankr. P. 7001(1), (2) and

 (8), and Sections 55.1-400 and 55.1-401 of the Virginia Code, among others .

                                                  PARTIES

           19.     On September 3, 2019, the Debtor commenced the Chapter 11 case by filing a

 voluntary petition for relief under chapter 11 of the Bankruptcy Code. On October 4, 2019, the

 Court entered the Order of Conversion of Chapter 11 to Chapter 7 [Docket No. 140]. On

 October 4, 2019, Ms. Tavenner was appointed as the Chapter 7 Trustee for the Debtor.1 As

 Trustee, Ms. Tavenner has the sole authority to bring these claims on behalf of the Debtor’s

 Estate.

           20.     At all relevant times, the Debtor was organized under the laws of the

 Commonwealth of Virginia.

           21.     Defendant was at all relevant times a shareholder or member of the Debtor, from

 2014 until August 2019. Defendant was also member of the Board from at least February 1,


 1
           See Appointment of Interim Trustee Lynn L. Tavenner. [Case No. 19-34574-KRH, Docket No. 175].


                                                       5
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                Document    Page 6 of 69



 2014 until the August 2019 and also served as an officer of the company as both a Department

 Leader and Chief Executive Officer from 2016 through 2019.

        22.    The Defendant’s relationship with the Debtor, including compensation, was

 governed by several agreements (as described below).

        23.     Defendant is an individual who may be served with process by any manner of

 service authorized by Rule 7004 of the Federal Rules of Bankruptcy Procedure.

                                   FACTUAL BACKGROUND

 I.     The Formation, Structure, and Conversion of the Debtor

        24.    The Debtor was founded in 1988 by Dennis Ryan and Gary D. LeClair. It

 initially operated as a regional corporate-focused law firm, headquartered in Richmond, Virginia.

 However, the Debtor rapidly expanded—ultimately opening offices or acquiring firms across the

 United States. Prior to the Petition Date, the Debtor operated through approximately 25 offices

 throughout the United States, with offices in, among others, Richmond, Los Angeles, San

 Francisco, Newark, New Haven, Boston, Philadelphia, New York City, Dallas, Houston, Detroit

 and Washington, D.C. At its peak, the Debtor had approximately 385 attorneys, including

 approximately 160 shareholders.

        25.    Prior to March 31, 2018, the Debtor operated as a Virginia Professional

 Corporation (“PC”). On March 31, 2018, the Debtor converted (the “Conversion”) from a PC to

 a Virginia Professional Limited Liability Company (“PLLC”).

 II.    The Debtor’s Downfall

        A.     The Debtor’s Financial Mismanagement

        26.    Fundamental issues of financial mismanagement plagued the Debtor for years,

 including, but not limited to, over-compensation of certain attorneys, declining revenues, which



                                                6
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                 Document    Page 7 of 69



 fell short of projections and budgets by millions of dollars, and improper and erroneous

 accounting for certain income and expense items.

        27.     Beginning no later than January 1, 2014, the Debtor consistently missed its budget

 and its revenue fell short of expectations.

        28.     By no later than September 3, 2014, the Debtor was insolvent, failing to pay its

 debts as they became due.

        29.     In fact, there was only one year after 2011 that the Debtor generated an operating

 profit and positive cash flow. That year, 2013, the Debtor recorded approximately $23 million in

 non-recurring fees. This one-off influx of cash generated approximately $5 million in Net

 Income for 2013 and had no impact on future profitability. Rather than use these proceeds to

 fund working capital, pay off outstanding obligations, and/or improve the Debtor’s financial

 viability, the Debtor distributed a vast majority of these funds to shareholders.

        30.     The Firm’s financials were not kept a secret from all shareholders, including the

 Defendant.

        31.     For instance, in a September 3, 2013 email labeled “August 31, 2013 CEO’s State

 of the Firm and Partnership 2020 Committee’s Report,” sent to all shareholders by David

 Freinberg, the Firm reported among other things that: (i) LCR underperformed financially

 “failing for a second consecutive year to collect the amount required to pay 100% of projected

 Shareholder Total Compensation;” (ii) that “Many Shareholders, and even some Firm Leaders,

 were surprised by the projected magnitude of the 2012 revenue miss,” and (iii) that “Too many

 Shareholders did not read our reports and insisted on repeating inaccurate facts.”

        32.     By no later than 2014, the Debtor’s shareholder compensation system had become

 illusory. Even though the Debtor did not meet the financial targets necessary for shareholders/


                                                  7
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                 Document    Page 8 of 69



 members to receive discretionary sums, the Debtor still distributed the same. Rather than pay

 shareholders based on what the Debtor earned in the year, the Debtor burdened future years to

 pay current shareholders—essentially borrowing from creditors and future shareholders and in

 some instances even using client advanced funds to pay current shareholders.

        33.     The Defendant knew or should have known that the Debtor’s financial

 information overstated assets and limited the Debtor’s ability to accurately forecast cash inflows.

        34.     The Defendant knew or should have known of the Debtor’s financial weaknesses

 and the issues referenced herein.

        35.     Shareholders, including the Defendant, also received numerous reports and

 budget communications detailing that the Debtor was not meeting budgeted amounts and that the

 Debtor was not financially healthy.

        36.     For example, an April 3, 2015 email from David Freinberg to all shareholders

 provided that “Our credit line has a $7.5 million outstanding balance. Our vendor payables were

 $7.150 million (of which approximately $3.21 million were over 60 days).”

        37.     Further, an April 15, 2015 Shareholder Meeting’s presentation entitled

 “Disciplined Financial Management Project—Revenue Enhancement Plan” provided that

 “absent execution on this Plan,” we “otherwise would have a projected deficiency of cash

 requirements in excess of cash receipts starting in July 2015” and would not be able to “pay in

 full the outstanding balance of the Wells Fargo line of credit until November 2015 (note that our

 Wells Fargo loan agreement requires that we have a zero balance on the line of credit for at least

 30 consecutive days during the 2015 calendar days).”

        38.     On March 17, 2016, shareholders were informed that “[f]or 2014 and 2015, we

 Shareholders paid ourselves, collectively, more than we earned. We have borrowed to pay


                                                  8
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                 Document    Page 9 of 69



 ourselves, contrary to Partnership 2020 fundamentals and our long-standing conservative

 principles of management. … Obviously, continued overpayment is not sustainable. We are

 going to have to reduce Shareholder compensation. If we are able to increase production margin,

 reductions to Shareholder compensation can be mitigated.”

        39.     In the March 17, 2016 Budget Oversight Committee report (the “2016 BOC

 Report”) provided to all shareholders, the Budget Oversight Committee, on which the Defendant

 served a key role, stated:

                Our WIP and AR are cluttered with uncollectible accounts and
                worthless numbers. We recommend that we clear all uncollectible
                AR and all aged and unbillable WIP from our working books. Old
                AR and WIP clouds our view of financial reality, clutters the work
                desks of our billing and collection teams and provides false
                overstatement of “inventory.”

        40.     In an effort to address the Debtor’s financial insolvency, the Debtor relied on

 various sources of capital to fund general operations—sources that were improper, expensive,

 and/or utilized in a fraudulent manner.

        B.      Utilizing CAPE Funds for General Operations

        41.     To fund the Debtor’s general operations, the Debtor misappropriated for improper

 purposes funds tendered by clients for specific expenses (the “CAPE Funds”).

        42.     The CAPE Funds were funds paid by the Debtor’s clients for certain enumerated

 purposes, including, but not limited to, filing fees, closing costs, third-party professional fees,

 and other costs necessary to serve the Debtor’s clients.

        43.     The Debtor used over $3 million in CAPE Funds for general operating purposes

 during the period at issue.

        44.      The Debtor utilized the CAPE Funds for general operating purposes with the

 knowledge that CAPE Funds were designated for a specific client purpose.


                                                  9
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                 Document    Page 10 of 69



        45.      The Defendant knew or should have known that this practice was occurring.

        C.       Reliance on Preferred Stock to Fund Operations

        46.      In an effort to raise working capital, the Debtor relied on expensive preferred

 stock (“Preferred Stock”) offerings, carrying a dividend rate of 8% per annum. This Preferred

 Stock became a massive burden on the Debtor’s financial solvency, a burden that the Debtor was

 never able to recover from.

        47.      In the 2016 BOC Report provided to all shareholders, the Budget Oversight

 Committee stated (emphasis added):

             We also increased our preferred stock outstanding for this purpose,
             ultimately. Insofar as the preferred stock bears a required dividend and
             must ultimately be repaid, we have burdened ourselves with carrying
             costs and repayment obligations in order to pay ourselves now.

        48.      The Debtor utilized the proceeds from the Preferred Stock offerings primarily to

 fund shareholder compensation, not pay creditor balances.

        49.      The Defendant knew or should have known that the Debtor was burdened by

 dividends owed on the Preferred Stock—further deteriorating the Debtor’s financial health.

        50.      Indeed the Defendant was front and center in seeking to paper over the Firm’s

 missteps, eventually taking on the role of CEO in early 2016. In both informal communications

 with other directors and officers and in presentations to the Board, the Defendant repeatedly

 acknowledged that LCR had significant cash flow problems that were exacerbated by the Firm’s

 actions in 2014 and 2015, when it made distributions that it could not afford.

        D.       Decreasing Revenues and Utilizing Accounts Payable as a Line of Credit

        51.      To manage cash flows, the Debtor increasingly relied on its accounts payable as a

 line of unsecured credit to ensure that it could make payments to shareholders. In violation of

 the Firm’s unilateral policy requiring the Debtor to maintain accounts payable aging within 60


                                                  10
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                               Document    Page 11 of 69



 days (regardless of the actual terms of the invoice)—a policy adopted by the Debtor in 2013 as a

 fortifying measure—the Debtor began to unilaterally extend payment terms with its suppliers and

 vendors well past 60 days.

        52.     The following chart reflects the Debtor’s leverage of its accounts payable and the

 balance of accounts payable that was more than 60 days outstanding.

              Year            Total Accounts       Accounts Payable > 60       Amount of AP
                                 Payable             Days Outstanding          Aged > 60 Days
        12/31/2014                  $10,109,000               $4,822,000                   48%
        12/31/2015                  $10,668,000               $6,057,000                   57%
        12/31/2016                   $5,890,000               $3,293,000                   56%
        12/31/2017                   $9,067,000               $5,892,000                   65%
        12/31/2018                  $17,252,000               $7,687,000                   45%
        6/30/2019                   $12,364,000               $6,345,000                   51%

        53.     At the same time that the Debtor’s liabilities were ballooning, and the Debtor was

 seeking capital, the Debtor’s revenues were decreasing at an alarming rate.

        54.     The Debtor’s annual revenues decreased from approximately $200 million in

 2013 to approximately $110 million in 2018.

        55.     During this time, the Debtor did not have sufficient liquidity to pay even the most

 critical operating expenses. The Debtor implemented an internal waterfall scheme to manage

 priority of payments which prioritized payroll first, shareholder payments second, intellectual

 property client expense payments third, and then critical vendor payments fourth. All other

 vendors were paid on an as needed basis.

        56.     The Defendant knew or should have known that the Debtor’s annual revenues

 were decreasing at a rate greater than the Debtor’s reduction in costs and that the Debtor could

 not pay debts as they became due.




                                                  11
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                 Desc Main
                                Document    Page 12 of 69



        E.      Shrinking Headcount and Loss of Shareholders

        57.     As a result of many factors, including but not limited to the Debtor’s financial

 mismanagement, the Debtor experienced a shrinking number of attorneys, including the loss of

 revenue-positive shareholders and members.

        58.     The Debtor’s attorney attrition rate was over ten percent in all relevant years.

        59.     Further, the number of shareholders and members, as applicable, decreased year-

 over-year as follows:

                  Date               Number of Shareholders /           Approximate Percentage
                                           Members                             Change
        December 31, 2015           156
        December 31, 2016           138                               (11.5%)
        December 31, 2017           121                               (12.3%)
        December 31, 2018           80                                (33.9%)
        June 30, 2019               44                                (45%)

        60.     The decrease of headcount left the Debtor with overhead expenses and office

 leases far larger than what was necessary for a law firm of the Debtor’s size.

        61.     The significant decrease in shareholders also resulted in significantly higher

 liabilities related to the redemption of the Debtor’s common stock (“Common Stock”) and

 Preferred Stock for the benefit of exiting equity holders.

        62.     Beginning in 2015 and in each subsequent year thereafter, the Debtor redeemed

 more Common Stock and Preferred Stock than it issued through new capital infusions. For

 example, in 2016, the Debtor redeemed over $4 million in Common Stock and Preferred Stock

 while only issuing approximately $2.5 million in new Common Stock and Preferred Stock.

        63.     The Debtor did not have the financial ability to redeem equity holders, resulting in

 a substantial unpaid liability. ABL Alliance LLLP, affiliated with and commonly referred to as

 Virginia Commercial Finance (“VCF”) (after recognizing the problematic practice) ultimately


                                                  12
Case 19-34574-KRH          Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                  Document    Page 13 of 69



 restricted the Debtor’s ability to redeem Common Stock and Preferred Stock due to the Debtor’s

 capital constraints.

 III.   Defendant and the Board Received Regular Financial Updates

         64.      The Defendant served as a director on the Board from at least February 2014

 through April 2018 and then, after the Debtor’s conversion to a PLLC, the Defendant served as a

 manager on the Debtor’s Board of Managers from April 2018 through July 24, 2019.

         65.      The Defendant frequently attended meetings of the Board and otherwise received

 materials and briefings distributed to the Board.

         66.      The Defendant received regular updates on the Firm’s financial state including

 periodic reviews of cash flow statements, balance sheets, budget forecasts, lender covenants,

 accounts payable/receivable status as well as quarterly and annual financial statements.

 Additionally, the Defendant received regular updates on shareholder attrition, office vacancies,

 employee compensation and lawyer utilization.

         67.      The reports to the Board were consistently negative. For example:

               o On June 27, 2017, the Debtor’s CFO advised the Board that, as of May 2017, the
                 Firm was no longer in compliance with a shareholder headcount covenant in its
                 Wells Fargo line of credit and that the Board would need to restructure the debt
                 and obtain a waiver from Wells Fargo.

               o On July 25, 2017, the Firm reported to the Board that its year-to-date cash losses
                 had reached over $6,000,000.00, which amounted to approximately
                 $2,100,000.00 below the approved budget.

               o On August 8, 2017, the Board was notified that the Debtor had exceeded the stock
                 redemption cap under the Third A&R Shareholder Agreement, a threshold that
                 would require the deferral of stock redemption payments to transferring
                 shareholders.

               o On October 24, 2017, the Board received an update on the Firm’s third quarter
                 financials that showed “utilization performance was poor” and noted an accrual
                 profit loss of $1,300,000 that increased the year-to-date accrual profit loss to
                 $4,800,000.


                                                  13
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                 Document    Page 14 of 69



              o On December 12, 2017, the Board approved a new $15,000,000 credit facility that
                was necessitated by a required $1,000,000 payment due to its previous lender,
                Wells Fargo, that the Debtor could not afford.

              o On January 3, 2018, the Firm CFO presented to the Board the preliminary 2017
                financial results that showed that the Firm had failed to meet revenue targets.

              o On February 9, 2018, the Board received a briefing from its tax consultants that
                highlighted that the Firm’s planned conversion to a PLLC would incur a federal
                and state tax liability of approximately $4,300,000 to the Firm.

              o On May 31, 2018, shortly after the transaction with UnitedLex, the Board was
                informed that the transaction—through favorable invoicing terms—had given the
                Firm a “cashflow float” of approximately $11,400,000. Still, the Board was
                notified that utilizing this additional “cashflow float” to address its priority
                creditors would leave a $3.9 million shortfall.

              o On June 22, 2018, the Board was notified of recent shareholder departures that
                brought the overall office vacancy percentage to over 30% firmwide.

              o On September 18, 2018, the Board viewed the previous month’s results which
                noted continuing issues surrounding loan covenants, accounts payable to ULXP
                and deficits in required retirement plans. These same issues would appear at the
                October 23, 2018 meeting of the Board, with the additional problem of finding a
                way to pay the tax liability that was incurred by the PLLC transition.

              o On March 26, 2019, the Firm CFO alerted the Board that low collection rates
                were creating “potential cash flow issues,” an issue that was repeated on April 8,
                2019, when the Board was also informed of additional shareholder resignations
                and a malpractice suit.

              o On June 7, 2019, management reported to the Board that, amid further member
                resignations, a new tax liability with respect to the City of New York, and efforts
                to reduce liabilities, it was unlikely that other law firms would be interested in
                assuming any of the Debtor’s liabilities in a merger.

        68.      The Defendant was privy to all the Debtor’s key financial information at all

 relevant times while the Debtor was insolvent.

 IV.    The Defendant and Board Approved Improper Payments to Shareholders,
        Company Employees and Favored Creditors

        69.      Despite the Debtor’s continuing insolvency and increasingly negative financial

 results, the Board and the Defendant continued to endorse payments the Firm could not afford

 (and in many instances was not obligated to make) to shareholders, employees, and favored
                                                  14
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                 Document    Page 15 of 69



 creditors. The Board and the Defendant also took actions to incur additional debts at the expense

 of existing creditors.

        A.      Early Termination, Continued Funding, and Early Distribution of Deferred
                Compensation Plan

               i.         Terms of the Deferred Compensation Plan

        70.     The Deferred Compensation Plan was governed by the 2014 Amended and

 Restated Shareholders Deferred Compensation Plan, adopted November 13, 2013 (the “Deferred

 Compensation Plan Document”).

        71.     Section 9.1 of the Deferred Compensation Plan Document stated that the:

                right of a Participant or his beneficiary to receive a distribution
                hereunder shall be an unsecured (but legally unenforceable) claim
                against the general assets of the Company, and neither the
                Participant nor his beneficiary shall have any rights in or against
                any amount credited to any Deferral Account or any other specific
                assets of the Company. Thus, the Plan at all times shall be
                considered entirely unfunded for ERISA and tax purposes. Any
                funds set aside by the Company for the purpose of meeting its
                obligations under the Plan, including any amounts held by a
                trustee, shall continue for all purposes to be part of the general
                assets of the Company and shall be available to its general
                creditors in the event of the Company’s bankruptcy or insolvency.
                The Company’s obligation under this Plan shall be that of an
                unfunded and unsecured promise to pay money in the future. All
                Company Contributions attributable to services prior to 2014, all
                property and rights purchased with such contributions, and all
                earnings attributable to such contributions, property or rights shall
                be held in the Trust until distributed to the Participant or his
                beneficiary and shall remain subject to the claims of the
                Company’s general creditors.

        72.     The Deferred Compensation Plan utilized a rabbi trust (the “Rabbi Trust”), which

 was governed by the Amended and Restated Rabbi Trust Document, dated February 13, 2014

 (the “Rabbi Trust Agreement”).

        73.     Section 3 of the Rabbi Trust Agreement provides, among other things, that:



                                                 15
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                Document    Page 16 of 69



                 [t]rustee shall cease payments of benefits to Plan participants and
                 their beneficiaries if the Company is Insolvent. Company shall be
                 considered “Insolvent” for purposes of this Trust Agreement if (i)
                 the firm is unable to pay its debts as they become due, or (ii) the
                 firm is subject to a pending proceeding as a debtor under the
                 United States Bankruptcy Code.

 (the “Cease Payments When Insolvent Requirement”).

        74.     Section 3(b) of the Rabbi Trust Agreement also states that “[a]t all times during

 the continuance of this Trust, as provided in Section 1(d) hereof, the principal and income of the

 Trustee shall be subject to the claims of general creditors of Company under federal and state

 law as set forth below.”

        75.     The Rabbi Trust was funded by either a whole life insurance policy, variable life

 insurance policies, or an investment in a long-term tax-exempt bond fund.

        76.     The Rabbi Trust Agreement also provides, among other things, that

                The Board of Directors and the Chief Executive Officer of
                Company shall have the duty to inform Trustee in writing of
                Company’s Insolvency. If a person claiming to be a creditor of
                Company alleges in writing to Trustee that Company has become
                Insolvent, Trustee shall determine whether company in [sic]
                Insolvent and, pending such determination, Trustee shall
                discontinue payment of benefits to Plan participants or their
                beneficiaries.

 (the “Insolvency Notification Requirement”).

        77.     A participant became vested in the Deferred Compensation Plan after 15 full

 calendar years as an employee and 10 full calendar years as a shareholder, or age 62.

        78.     Shareholders of the Firm, including the Defendant, were aware that the assets

 were available to satisfy creditors.

        79.     For instance, in the 2015 Plan Year Enrollment Kit, all participants were told that

 “assets held in the Rabbi Trust are considered Company assets and are available to satisfy the



                                                16
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                Document    Page 17 of 69



 claims of creditors of the Company. In the event the Company becomes insolvent, you are an

 unsecured general creditor of the Company with regard to your benefits under the Plan.”

               ii.      Terms of the SERP

        80.      The SERP was governed by the Amended and Restated LeClairRyan, a

 Professional Corporation, Supplemental Retirement Plan, effective January 1, 2014 (the “SERP

 Plan Document”).

        81.      The SERP designated amounts as being in either a Deferral Account or a Secular

 Trust (together, the “SERP Accounts”).

        82.      Pursuant to the SERP, the Secular Trust received and held vested contributions

 made by the Debtor to the SERP participant and contributions made by the SERP participant to

 the Secular Trust.

        83.      The funds held in the Secular Trust were not subject to the claims of the Debtor’s

 general creditors.

        84.      By contrast, funds held in the Deferral Account were subject to the claims of the

 Debtor’s general creditors.

        85.      In contravention of the SERP Plan Document, at times, the Debtor failed to

 segregate the funds in the Deferral Account from the Debtor’s general operating accounts and

 made payments to the shareholders from the Deferral Account (the “Deferral Payments”).

              iii.      Early Termination of the Deferred Compensation Plan and the SERP

        86.      On September 27, 2016, the Retirement Plans Task Force issued a report

 (the “Task Force Report”) that recommended, among other things, the termination and payment

 of the Deferred Compensation Plan assets to participants pursuant to Section 409A of the

 Internal Revenue Code.



                                                 17
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                 Desc Main
                                Document    Page 18 of 69



        87.     Specifically, the Task Force Report stated that “[a]fter a number of meetings,

 thoughtful consideration and good discussion, the Task Force feels it is in the best interest of the

 Firm and the participants to take steps to terminate the [Deferred Compensation Plan and SERP]

 on or before January 1, 2019. The Task Force understands this is the most expensive option and

 financial discipline is needed to get the Firm to the point where this is executable.” In explaining

 its recommendation, the report noted that the Deferred Compensation Plan and the SERP are

 “painfully complex, and there is no comfort surrounding the possibility of hidden pitfalls that

 may present themselves in the future.”

        88.     On November 17, 2016, the Debtor’s Board approved the Task Force Report’s

 recommendation to terminate the Deferred Compensation Plan on or before January 1, 2019.

        89.     On December 9, 2016, the Debtor provided communication to shareholders

 stating that 100% vesting would occur upon the formal termination of the Deferred

 Compensation Plan and that distributions would be made to comply with Section 409A of the

 Internal Revenue Code.

        90.     One issue that remained was that there was a significant “payment gap” of

 approximately $2 million dollars in the Deferred Compensation Plan. Thus, terminating the plan

 meant that the Debtor had to find funding for this payment hole.

        91.     From late 2016 to November 2017, the Firm’s finances continued to decline and

 the Firm lacked the “financial discipline” needed to get the Firm to where executing termination

 of the Deferred Compensation Plan and the SERP would not harm creditors.

        92.     However, on November 30, 2017, the Debtor’s Retirement Plan Committee

 issued a memorandum to the Board that refused to endorse a plan to accelerate the termination of

 the Deferred Compensation Plan and the SERP to 2017.


                                                 18
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                 Document    Page 19 of 69



         93.      On December 4, 2017, the Board discussed the memorandum, noting that the

 Retirement Plan Committee had “concerns about the funding gap and likely administrative

 difficulties.”

         94.      The Board was also made aware that a termination of the plans in 2017 would

 trigger mandatory shareholder distributions before December 31, 2019.

         95.      The Defendant and other members of the Board knew or should have known that

 the payments required by the termination of these plan would violate the Rabbi Trust, the Third

 A&R Shareholder’s Agreement (as later defined) and divert funds away from the Firm.

         96.      Nonetheless, on December 29, 2017, the Defendant and other members of the

 Board unanimously approved the early termination of the Deferred Compensation Plan.

         97.      As a direct result of the Board’s approval of the early termination of the Deferred

 Compensation Plan, the Firm made distributions to shareholders, including the Defendant and

 other members of the Board (the “Deferred Compensation Distributions”). These funds could

 have otherwise been available to the Firm’s creditors.

                  iv.    Continued Funding of the Deferred Compensation Plan

         98.      Also, at its meeting on December 19, 2017, the Board was presented with a

 proposal to provide continued funding to the Deferred Compensation Plan to cover payments of

 certain insurance policies. Such funding was not required by the Deferred Compensation Plan.

         99.      The Board and the Defendant knew or should have known that the continued

 funding of the Deferred Compensation Plan would divert funding away from the Firm’s

 creditors.

         100.     However, with the Defendant’s support, the Board unanimously approved the

 discretionary contributions to the Deferred Compensation Plan.



                                                  19
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                 Document    Page 20 of 69



         101.     As a direct result of the Board’s approval of the 2017 contributions to the

 Deferred Compensation Plan the firm made additional discretionary payments for the benefit of

 certain shareholders, including Board members, (the “Deferred Compensation Contributions”) in

 the amount of $180,270.47. These funds could have otherwise been available to the Firm’s

 creditors.

                  v.     Early Distribution of the Deferred Compensation Plan

         102.     In December 2017, the decision by the Board to terminate the Deferred

 Compensation Plan created a requirement that the Debtor make the Deferred Compensation

 Distributions to the participating shareholders within two years of the termination, which became

 effective on December 31, 2017. Therefore, the Board had the option to wait until December 31,

 2019, to liquidate the Deferred Compensation Plan and order the Deferred Compensation

 Distributions.

         103.     However, on December 11, 2018, with the Defendant’s support, the Board

 unanimously approved a resolution directing the payment of all deferred compensation amounts

 due and owing to participating shareholders. Recipients of the funds included the Defendant and

 members of the Board.

         104.     As a direct result of the early payout of the Deferred Compensation Plan, the Firm

 made the Deferred Compensation Distributions, including the Deferred Compensation

 Contributions, in the amount of $9,753,000, which benefited certain shareholders and the Board

 and which funds could have otherwise been available to the Firm’s creditors for an additional

 year.




                                                  20
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                 Document    Page 21 of 69



           B.     Early Termination and Distribution of the Supplemental Retirement Plan

                  i.     Early Termination of the Supplemental Retirement Plan

           105.   As described above, the November 30, 2017 memorandum from the Debtor’s

 Retirement Plan Committee refused to endorse a plan to accelerate the termination of the SERP

 to 2017. In particular, the memorandum noted that, similar to the Deferred Compensation Plan,

 terminating the SERP could result in funding gaps that could further impact the Firm’s ability to

 pay creditors.

           106.   On December 4, 2017, the Board discussed the memorandum and deferred further

 action.

           107.   The Board was also made aware that a termination of the plans in 2017 would

 trigger mandatory shareholder distributions before December 31, 2019. The Defendant and other

 members of the Board knew or should have known that these shareholder distributions would

 violate the terms of the SERP and the Third A&R Shareholder’s Agreement (as hereafter

 defined) and would divert funds away from the Firm’s creditors.

           108.   Nonetheless, on December 31, with the Defendant’s support, the Board

 unanimously approved the early termination of the SERP.

           109.   As a direct result of the Board’s approval of the early termination of the SERP,

 the Firm was required to later make distributions to shareholders, including the Defendant and

 members of the Board (the “SERP Distributions”). These funds could have otherwise been

 available to the Firm’s creditors.

                  ii.    Early Distribution of the SERP

           110.   In December 2017, the decision by the Board to terminate the SERP created a

 requirement that the Debtor make the SERP Distributions to the participating shareholders within

 two years of the termination, which became effective on December 31, 2017. Therefore, the

                                                 21
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                  Desc Main
                                 Document    Page 22 of 69



 Board had the option to wait until December 31, 2019, to liquidate the SERP and order the SERP

 Distributions.

          111.    However, on December 11, 2018, with the Defendant’s support, the Board

 unanimously approved a resolution directing the payment of the SERP Distributions to

 participating shareholders. Recipients of the funds included the Defendant and members of the

 Board.

          112.    As a direct result of the Board’s approval of the early termination of the SERP the

 firm made the SERP Distributions in the amount of $2,812,000. These payments not only

 benefited the Defendant and members of the Board, but these funds could have otherwise been

 available to the Firm’s creditors.

          C.      Contributions to Debtor’s 401(k) Plan

          113.    The Debtor created and maintained a 401(k)-retirement investment plan (the

 “401(k) Plan”) for its professional staff and non-member attorneys.

          114.    The 401(k) Plan was a qualified plan subject to Section 401(k) of the Internal

 Revenue Code.

          115.    Pursuant to the 401(k) Plan, the Debtor, in its sole discretion, could elect to match

 certain contributions by its employees. Accordingly, the Board was periodically asked to approve

 the voluntary payment of matching contributions into the 401(k) Plan.

          116.    From 2014 through 2016, the Board of Directors, with the support of Defendant,

 approved annual discretionary matches that the Firm could not afford to pay.

          117.    On December 19, 2017, the Board unanimously approved the payment of

 approximately $350,000 of discretionary matching funds (the “2017 401(k) Contributions”) into

 the 401(k) Plan for the 2017 calendar year.



                                                   22
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                    Desc Main
                                Document    Page 23 of 69



        118.    Over the course of the 2018 calendar year, the Debtor’s discretionary matching

 contributions to the 401(k) fund became improperly disproportionate toward highly compensated

 employees and could not meet nondiscrimination tests required by Section 401(k) of the Internal

 Revenue Code and associated regulations.

        119.    In order to maintain compliance with relevant regulations, the Board was

 presented with the option of returning certain funds from the 401(k) Plan to highly compensated

 employees (i.e., attorneys) or paying an additional $219,940.23 into the 401(k) fund from

 company accounts. If the funds were returned from the 401(k) Fund to the highly compensated

 employees, such funds would have been subject to relevant income taxes for the concerned

 individuals.

        120.    On February 19, 2019, the Board unanimously approved an additional

 discretionary payment of $219,940.93 into the 401(k) Plan. After further calculation the required

 discretionary amount was reduced to approximately $160,000 (the “2018 401(k) Contributions”)

 which was paid into the Firm’s 401(k) Plan. This was done to protect highly compensated

 individuals from additional taxation.

        121.    As a result of the Board’s approval of discretionary matching contributions into

 the 401(k) Plan the Firm made payments of more than $446,000 that benefited highly

 compensated attorneys, among others. These funds could have otherwise been available to the

 Firm’s creditors.

        D.      Dividend Payments

        122.    The Debtor’s Preferred Stock provided for the payment of significant dividends to

 shareholders, to be paid at the discretion of the Board and subject to financial solvency.

        123.    As of September 16, 2017, the Firm was insolvent.



                                                 23
Case 19-34574-KRH          Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54            Desc Main
                                  Document    Page 24 of 69



         124.     Yet, on September 26, 2017, the Board, with the Defendant’s support,

 unanimously approved the payment of 8% quarterly dividends to holders of the Debtor’s

 Preferred Stock for the third quarter of 2017.

         125.     Further, on December 19, 2017, the Board, with the Defendant’s support, again

 approved the payment of quarterly dividends to holders of the Debtor’s Preferred Stock for the

 fourth quarter of 2017.

         126.     As a result of the Board’s approval of quarterly dividends, the Firm made total

 payments of $147,000 to shareholders (the “2017 Dividend Payments”), payments that should

 have been subject to the Firm’s creditors.

         E.       Extraordinary Bonus Payments and Member Distributions

         127.     Part of the Firm’s compensation to employees, attorneys and members included

 the payment of extraordinary bonuses.

         128.     The Debtor’s Compensation Policy in effect in 2017 and 2018 stated, among

 other things, that:

              Members split whatever profit remains after payment of properly
              payable Firm expenses and a reserve for working capital and for a
              bonus pool. The Firm cannot pay out more than it earns, nor can it
              borrow funds from future years and future partners to pay Members
              money that was not earned in a particular year.

                  i.     2017 Bonuses

         129.     For the 2017 calendar year, the Debtor failed to make a profit and, in fact, was

 unable to pay its operating expenses or provide a reserve for working capital.

         130.     On December 19, 2017, the Board was presented with a proposal to not only

 approve bonus payments to shareholders but to actually expand the size of the Shareholder

 Extraordinary Bonus pool from $1.7M to $2.5M. Although the Board deferred action that day,



                                                  24
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                Document    Page 25 of 69



 on January 10, 2019, the Board, with Defendant’s support, approved a proposal to pay

 recommended bonus payments to shareholders from an increased bonus pool of over $2 million.

        131.    As a result of the Board’s approval of the payment of 2017 extraordinary bonuses,

 the Firm made payments of $1,728,000 to shareholders (the “2017 Bonus Payments”), payments

 that should have been subject to the Firm’s creditors.

                ii.    2018 Bonuses

        132.    For the 2018 calendar year, the Debtor failed to make a profit and, in fact, was

 unable to pay its operating expenses or provide a reserve for working capital.

        133.    On January 21, 2019, the Board, with the Defendant’s support, approved a

 proposed bonus pool of $750,000 based on 2018 performance. As recipients of the payments,

 members of the Board were self-interested parties to the transaction.

        134.    As a result of the Board’s approval of the payment of 2018 extraordinary bonuses,

 the Firm made payments of $780,000 to shareholders (the “2018 Bonus Payments”), payments

 that should have been subject to the Firm’s creditors.

        F.      Excess Compensation to Firm Officers and Directors

        135.    Beginning in 2009 the Debtor began executing several so-called Soft Landing

 Contracts with executives and firm leaders including Gary LeClair, Bruce Matson, Michael Hern

 and David Freinberg (collectively, the “Firm Leaders”). These SLCs required significant cash

 payments to the Firm Leaders purportedly in recognition of past service to the Firm and not as

 compensation for current contributions. However, the Firm Leaders were exactly the individuals

 whose acts and omissions first led the Debtor into insolvency.

        136.    In 2016, the Board recognized that the SLCs were contributing to the Debtor’s

 liquidity issues and further acknowledged that one or more of the Firm Leaders could be

 terminated for cause as a result of the Firm Leaders’ actions that led to the Debtor’s financial
                                                 25
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                               Document    Page 26 of 69



 troubles. Such a termination for cause would have relieved the Firm of any further payment

 obligations under the SLCs. However, in 2016, the Board chose not to terminate any of the Firm

 Leaders. Rather, on December 27, 2016, the Board, with the Defendant’s support, approved

 renegotiated SLCs with the Firm Leaders.

        137.    From January 2017 until the dissolution of the Firm, the Board had just cause to

 terminate the SLCs, yet the Board, with the Defendant’s support, failed to take appropriate action

 and allowed the Debtor to continue making payments under the SLCs.

        138.    By this omission, the Board allowed the renegotiated SLCs to constrain the

 Debtor’s cash flow until the dissolution of the Firm, costing the Debtor at least $5,510,000 in

 overpaid and improper compensation.

        139.    These funds (the “SLC Compensation”), which were distributed to the Firm

 Leaders, would have otherwise been available to creditors.

        G.      Continued Funding and Gift of Life Insurance Policy

        140.    At the same time that the Debtor was funding SLC payments to the Firm Leaders,

 the Firm was also making continued life insurance payments for the benefit of one of the Firm

 Leaders.

        141.    For example, throughout 2017, 2018 and until the firm’s dissolution in 2019, the

 Debtor paid annual premiums on a life insurance policy with Banner Life Insurance Co. (the

 “Banner Policy”) for Gary LeClair even though the Board and the Defendant were aware the

 Firm could terminate the life insurance policy or transfer payment responsibility to Mr. LeClair.

        142.    In sum, between September 2017 and September 2019, the Firm paid

 approximately $50,000 in premiums on the Banner Policy.

        143.    As a direct result of the Board’s failure to terminate the Banner Policy and its

 allowance of the subsequent transfer of the Banner Policy caused at least $50,000 of damages
                                                26
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                 Document    Page 27 of 69



 (the “Banner Payments”). These funds could have been otherwise available to the Firm’s

 creditors.

         H.      Conversion From PC to PLLC

         144.    In late 2017, the Board began to entertain possible solutions to the Debtor’s cash

 flow limitations, specifically through the formation of a joint venture with UnitedLex. Through

 active negotiation by the Defendant and other Board members with UnitedLex, by December

 2017, the outlines of a “growth opportunity” that would eventually become the ULXP joint

 venture had been presented to the Board.

         145.    Again on January 10, 2018, the Defendant updated the Board on the potential

 joint venture, this time directly by UnitedLex personnel.

         146.    One critical part in the proposed process was the two-step conversion of the

 Debtor’s corporate structure from a PC to a PLLC. First, the Debtor would be converted from a

 cash-basis PC to an accrual-basis PC. Then, the accrual-basis PC would be converted to a

 PLLC.

         147.    As a due diligence action, the Debtor sought tax advice regarding the

 consequences of such a conversion.

         148.    On February 9, 2018, Keiter CPAs (“Keiter”), the Debtor’s external tax advisor,

 presented to the Board the implications of the ultimate conversion of the Firm to a PLLC. In

 particular, Keiter alerted the Board that while the conversion to a PLLC would have certain

 income tax benefits for individual shareholder compensation, the Firm would incur an estimated

 $4.3 million in federal and state tax liability.

         149.    Although the ULXP transaction was pitched as a solution to the Debtor’s cash

 flow problems, in fact, the promise of liquidity was illusory. Not only did UnitedLex renege on



                                                    27
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                Document    Page 28 of 69



 the redemption of $22 million of shareholder equity, but it offered cash relief only in the form of

 a temporary float through extended payment terms on invoices.

        150.    Given its terms, the ULXP deal presented to the Board was damaging for the

 Debtor. Nonetheless, on February 19, 2018, for the sole purpose of facilitating the investment in

 the ULXP joint venture, the Board, with the Defendant’s support, approved the Firm’s

 conversion to a PLLC, incurring the expected federal tax liability.

        151.    Moreover, when the transaction was completed, the Debtor was not able to pay in

 full the required tax payments. The resulting interest and penalties brought the Debtor’s total tax

 loss associated with the conversion to $3,786,000.

        152.    Additionally, the Firm incurred $258,000 in professional fees related to the

 conversion, including tax and legal advisers.

        153.    As a result of the Board’s approval of the ULXP transaction, the Firm incurred

 $4,044,000 million in debts (the “ULXP Transaction Costs”), funds that should have been

 otherwise available to the Firm and its creditors.

        I.      Approval of Alexandria, Virginia Lease

        154.    In early 2019, the Debtor’s financial state continued to worsen as the ULXP

 transaction had failed to provide anything more than superfluous hope and empty promises. The

 Firm had seen additional shareholder defections and, consequently, rising vacancy rates in its

 office space—which happened to be one of the Firm’s most costly operating expenses.

        155.    At this time, the Debtor held a lease on office space in Alexandria, Virginia which

 was not due to expire for several months. However, on February 19, 2019, the Board was

 presented with an informational proposal to extend the lease on the current Alexandria office

 space. One or more individuals in management specifically recommended that the Board not

 accept the lease extension at this time.
                                                  28
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                Document    Page 29 of 69



        156.    However, less than one month later, on March 11, 2019, management urged the

 approval of entering into a new lease on the Alexandria property, with the alternative being to

 find new office space in January 2020.

        157.    Concurrently, however, members of the Board and other leaders within the Firm,

 although acknowledging privately that liquidation of the Firm was inevitable, were seeking new

 “growth opportunities” for certain members of the Firm. In particular, the Firm was seeking

 potential partners for a “merger” as well as investigating ways to form a new law firm—the

 Novellus Law Group—using certain Firm assets while leaving behind the majority of liabilities

 other than obligations to UnitedLex/ULXP.

        158.    The Board, with the Defendant’s support, eventually approved the extended lease

 for the Alexandria property on March 11, 2019, more than eight months before its expiration.

        159.    For an insolvent firm this decision can only logically be explained as an attempt

 to secure office space for the eventual Novellus Law Group.

        160.    However, all that resulted from the extended lease was an additional $1.398

 million liability for LCR (the “Alexandria Lease Debt”).

        J.      The Pursuit of Novellus Law Group

        161.    With the ULXP transaction having provided no benefit to the Debtor, entering

 2019, the Firm was still on the path to its eventual bankruptcy filing. Yet, rather than dissolve

 the Firm then, and, indeed, having failed to dissolve the Firm much sooner than that, the

 Defendant and others made yet another attempt to enrich themselves, at the Firm’s expense and

 in breach of their fiduciary obligations.

        162.    The Defendant and others schemed to partner once again with UnitedLex to form

 a new law firm—the Novellus Law Group (“NLG”)—that would give a few select members a

 clean slate, while leaving the Firm saddled with the liabilities that years of mismanagement had
                                                29
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                 Document    Page 30 of 69



 created. Compounding this wrongdoing, the Defendant and others misappropriated the Firm’s

 assets in pursuit of this plan—a plan that was in obvious disregard of the Firm’s best interests.

           163.   NLG was not intended to simply be a continuation of LeClairRyan, but rather a

 new entity that attempted to strip LeClairRyan of its assets and profitable members while leaving

 debt and other liabilities, including but not limited to certain real estate leases and technology

 costs, with the Firm.

           164.   The purpose was to personally benefit the Defendant, among others. Financially

 impaired, the Firm could not survive on its own, but it also could not find a merger partner

 because of its dire financial condition. The Defendant and others nonetheless stalled the Firm’s

 inevitable dissolution just so that they and a select few could have time to try and take the Firm’s

 best assets to start a new law group for themselves, get a fresh start and “reboot” their individual

 practices, all in derogation to their obligations to the Firm as a whole. The goal was undoubtedly

 to take the new, unspoiled law firm and merge it with another firm at a later date or, having

 partnered again with UnitedLex, even achieve a liquidity-like event if UnitedLex were to go

 public.

           165.   One of the promoters of this plot, the Defendant was on calls and in meetings

 about it as early as February 2019, when the plan was still referred to internally as “Project

 Modern.” He knew from the outset that the idea was to create a new law firm that “would have

 only those attorneys who support law firm 2.0,” on the presumption that “[e]ven if former

 [shareholders] sue in the wake of this, noone [sic] will care.”

           166.   To help facilitate this transaction, the Firm made cash payments to ULXP and

 entered into the ULXP Security Agreement (which among other things authorized related UCC

 filings) (as described below in more detail). The Board, with the Defendant’s support, approved


                                                  30
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                               Document    Page 31 of 69



 the ULXP Security Agreement and was aware of payments to ULXP under the Master Services

 Agreement between the Firm and ULXP.

        167.    Under the proposal, the “debts” owed by the Firm to ULXP would be assumed by

 the newly-formed NLG, and the equity investments that UnitedLex purportedly made in

 connection with the prior joint venture with the Firm would be incorporated into the new entity’s

 debt and/or equity structure. UnitedLex would also be entitled to various fees and other streams

 of income including but not limited to profits generated by the new law firm.

        168.    As UnitedLex was key to the contemplated NLG transaction, the Defendant and

 other officers and directors prioritized payments to ULXP ahead of other creditors and in

 disregard of managing the Firm’s operating costs, all to appease UnitedLex and keep “this

 opportunity alive.” The Defendant knew about, supported, and/or personally approved many of

 these payments in 2019, for hundreds of thousands of dollars at a time, even after receiving

 reports that the payments would exacerbate the Firm’s cash needs.

        169.    Expenditures by the insolvent Debtor towards this transaction were intended to

 jettison and ignore its existing creditors and is forbidden by law and contract. Indeed, the

 proposed NLG transaction was expressly designed to hinder or delay the vast majority of the

 Firm’s existing creditors, while favoring some shareholders and one particular creditor,

 UnitedLex.

        170.    Thus, from as early as March 1, 2019, when the Board and the Defendant knew or

 should have known that the Debtor could not continue ongoing operations in its current state, any

 funds expended towards NLG or other pursuits to the detriment of the Firm’s creditors was

 improper.




                                                31
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                Document    Page 32 of 69



        171.    Rather than protecting the Firm’s existing assets and preparing the Debtor for an

 orderly wind-down and/or bankruptcy filing, the Board and the Defendant allowed further

 corporate waste.

        172.    For example, on April 1, 2019, the Board, with the Defendant’s support, approved

 the conversion of $8 million of the Debtor’s accounts payable to ULXP into a promissory note to

 ULXP. The Board, with the Defendant’s support, also approved granting ULXP a security

 interest in the Debtor’s assets. Further, the Board, with the Defendant’s support, allowed the

 Firm to expend professional fees in furtherance of the NLG scheme, some of which was in

 search of advice on successor liability and how to avoid claw backs of shareholder/member

 funds, all of which was for the benefit of certain members and/or UnitedLex/ULXP to the

 detriment of the Firm and its creditors.

        173.    In all, the Board’s pursuit of the NLG transaction cost the Firm at least $93,000 in

 direct expenditures (the “NLG Expenditures”) and resulted in a diminution of the Debtor’s assets

 in the amount of at least $12,899,000 (the “NLG Damages”). These funds should have been

 available to the Firm’s creditors.

        K.      The Debtor’s Dissolution

        174.    Eventually, the Debtor’s pursuit of the NLG transaction failed.

        175.    On July 24, 2019, the Board unanimously approved the dissolution of the Firm as

 well as certain resolutions related to the wind-down of the Firm.

        176.    Included in these resolutions was the formation of a Dissolution Committee and a

 release from liability (the “D&O Releases”). This supposed release from liability purported to

 absolve every current member of the Firm who served as, or as members of, “the Board of

 Managers, the Leadership Committees, the Pension/Benefits Committee, the Lead Manager, the

 Chief Executive Officer, Partnership Representative, and all other Executive Officers of the Firm
                                                 32
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                Document    Page 33 of 69



 and/or in any administrative role.” The D&O Releases also sought to release from liability all

 members of the Dissolution Committee.

        177.    This self-serving release sought to release all of the Firm’s leaders, past and

 present, for any and all misconduct with the only exception being narrowly confined to a

 “Member’s individual fraud or intentional misconduct.”

        178.    The Debtor received nothing of tangible or concrete value in exchange for the

 D&O Releases.

        179.    On July 29, 2019, the Debtor’s members voted to dissolve LCR and wind-down

 the Debtor’s operations.

        180.    The Defendant was a member of the Debtor’s Dissolution Committee, charged

 with overseeing the wind-down process. Personally and together with other members of the

 Dissolution Committee, the Defendant engaged in multiple breaches of fiduciary duties to the

 Debtor and its creditors during the Debtor’s wind-down, including but not limited to wasting the

 Debtor’s assets and fraudulently transferring assets to insiders in violation of the Bankruptcy

 Code, improperly prioritizing the interests of certain of the Debtor’s employees, members and

 other creditors, and failing to properly address outstanding tax items.

 V.     Shareholder and Member Compensation Paid Pursuant                      to   Shareholder
        Agreements, Board Resolutions, and Compensation Policies

        181.    Shareholder and member compensation was determined in accordance with

 applicable shareholder agreements, resolutions by the Debtor’s Board and/or annual

 compensation policies (policies that were thereafter modified as needed to enable diverting

 millions of dollars of scarce funds to shareholders and/or members when the Firm failed to meet

 metrics contained in the initial policy).




                                                 33
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                               Document    Page 34 of 69



        A.     Shareholder Agreements

        182.   While a PC, the Debtor’s relationship with the Defendant was governed by,

 among other operative documents, the Third Amended and Restated Shareholders Agreement of

 LeClairRyan, a Professional Corporation, effective as of December 31, 2013 (as amended,

 modified, or supplemented, the “Third A&R Shareholder Agreement”).

        183.   While a PLLC, the Debtor’s relationship with the Defendant was governed by,

 among other operative documents, the Fourth Amended and Restated Shareholders Agreement of

 LeClairRyan, a Professional Corporation and Operating Agreement of LeClairRyan PLLC,

 dated February 27, 2018 (as amended, modified, or supplemented, the “Fourth A&R

 Shareholder Agreement,” and together with the Third A&R Shareholder Agreement, the

 “Shareholder Agreements”).

        B.     Board Resolutions

        184.   As further explained below, the shareholders were governed by compensation

 policies and Resolutions of the Debtor’s Board (the “Board Resolutions”).

        185.   For the 2014 compensation year, the Board Resolutions:

               RESOLVED, that for the 2014 budget year, the Firm must have
               calendar year profits of at least the sum of 1% of fee revenues
               (determined on an accrual basis after making adjustments to deduct
               tax liabilities determined on a cash basis), inclusive of the amount
               of dividends paid, before Shareholder or Officer At-Risk Salaries,
               or lateral Shareholder and Officer contingent performance bonuses
               with respect to such calendar year (which are payable early in the
               next calendar year) could be paid.

        186.   For the 2015 compensation year and later years, the Board Resolutions resolved:

               Beginning in 2015, the Firm must have calendar year profits of at
               least the sum of 1% of fee revenues (determined as described
               above), plus the amount of dividends paid, before Shareholder or
               Officer At-Risk Salaries, or lateral Shareholder and Officer
               contingent performance bonuses with respect to such calendar year
               could be paid (the “Minimum Profit Guardrail”).

                                               34
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                  Desc Main
                                Document    Page 35 of 69



        187.    Pursuant to the Board Resolutions, the Debtor was required to achieve a minimum

 level of profits as a condition precedent before shareholders were entitled to the receipt of certain

 amounts.

        C.      Compensation Policies

        188.    In addition to being governed by the Shareholder Agreements, and the Board

 Resolutions, compensation for shareholders and members, including the Defendant, were

 governed by LCR’s annual compensation policies, which set forth the various categories of

 compensation paid to the Debtor’s shareholders and members, as applicable (the “Compensation

 Policies”).

        189.    Among other things, the Compensation Policies set forth specific financial

 metrics and other factors that the Debtor had to satisfy in order to pay shareholders and members

 compensation in addition to their regular salary. The additional compensation was not a fixed

 amount and was not guaranteed (the “Contingent Income”).

        190.    Between September 4, 2014 and the Petition Date, LCR paid the Defendant

 $545,038 in Contingent Income in violation of the Compensation Polices, the Shareholder

 Agreements, and the Board Resolutions.

        191.    The Defendant knew or should have known (especially given the Defendant’s role

 at the Firm) that the Defendant was being paid Contingent Income and Member Draws while

 LCR was insolvent, that the conditions precedent to pay these amounts were not satisfied, and

 that the payments were made with an intent to hinder, delay, and/or defraud LCR’s creditors.

                i.      2014 Compensation Policy

        192.    In 2014 and in addition to the Board Resolutions, shareholder compensation,

 including the Defendant’s, was governed by the Shareholder and Officer Compensation Policy,

 effective January 1, 2014 and adopted November 26, 2013 (the “2014 Compensation Policy”).
                                                  35
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                 Document    Page 36 of 69



         193.    The 2014 Compensation Policy stated that shareholders’ compensation from the

 Debtor was comprised of (a) Regular Salary, (b) At-Risk Salary, and (c) Contingent Retention

 Incentive (each as defined in the 2014 Compensation Policy).

         194.    The At-Risk Salary set forth in the 2014 Compensation Policy was Contingent

 Income subject to, among other things, the Debtor’s financial performance during the year.

         195.    The 2014 Compensation Policy stated that a failure to satisfy the necessary

 conditions for payment of the At-Risk Salary means that the shareholder’s “right to receive a

 particular At-Risk Salary . . . installment payment, as applicable, shall not have vested or be

 payable.”

         196.    Payment of the At-Risk Salary and Contingent Retention Incentive was also

 subject to a waterfall payment structure set forth in the 2014 Compensation Policy, with five

 waterfalls set forth therein.

         197.    At-Risk Salary was paid in Waterfalls 1, 4 and 5, and Contingent Retention

 Incentive was paid upon Waterfall 5 being fully funded.

         198.    The Debtor did not satisfy the necessary conditions precedent for payment of the

 At-Risk Salary or the Contingent Retention Incentive.

         199.    As the Debtor did not satisfy the necessary conditions precedent, the Defendant

 should not have received the At-Risk Salary payments under the 2014 Compensation Plan.

         200.    Shareholders were told by management of LCR that the At-Risk Salary and the

 Contingent Retention Incentive were unearned in a presentation on October 24, 2014.

         201.    In violation of the Board Resolutions and the 2014 Compensation Policy, the

 Defendant received $85,000 in At-Risk Salary.




                                                 36
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                               Document    Page 37 of 69



        202.    In October 2014, it was communicated to shareholders that, as a result of the

 failure to meet 2014 performance thresholds, the 5% Contingent Retention Incentive scheduled

 to be paid in installments from May to September 2015 was unearned.

        203.    However, Shareholders were told that as a result a new “2015 Retention

 Incentive” would be created, and the payments would be made on the same schedule as the

 unearned Contingent Retention Incentive.

        204.    In November 2014, Shareholders voted to approve this 2015 Retention Incentive

 to ostensibly pay themselves the Contingent Retention Incentive that they did not earn based on

 2014 performance. At the time these 2015 Retention Incentive payments were made, the Debtor

 faced severe liquidity issues with a majority of its accounts payable past due and taking actions

 such as utilizing CAPE funds and making improper draws on construction loans to fund

 operations.

        205.    The Defendant was or should have been aware that the Retention Incentive paid

 in 2015 was for the unearned 2014 Contingent Retention Incentive.

        206.    For example, an April 15, 2015 shareholder communication explained that

 “Certain shareholders were paid $2.5 million of compensation in the first quarter of 2015 that the

 Firm delayed paying them from 2014 year end.”

        207.    As a result, the Defendant received $45,000 of 2015 Retention Incentive

 payments that were unearned based on the 2014 Compensation Policy.

                ii.    2015 Compensation Policy

        208.    In 2015 and in addition to the Board Resolutions, shareholder compensation,

 including the Defendant’s, was governed by the 2015 Shareholder and Officer Compensation

 Policy, adopted November 25, 2014 (the “2015 Compensation Policy”).



                                                37
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                               Document    Page 38 of 69



        209.    The 2015 Compensation Policy stated that shareholders’ compensation from the

 Debtor was comprised of (a) Regular Salary, (b) the 2015 Retention Incentive (described above),

 (c) the Shareholder Equalization Payment, (d) the targeted Shareholder Performance Payment,

 and (e) the 2016 Contingent Retention Incentive (each as defined in the 2015 Compensation

 Policy).

        210.    The Shareholder Equalization Payment and the targeted Shareholder Performance

 Payment were Contingent Income subject to, among other things, the Debtor’s financial

 performance during the year.

        211.    The 2015 Compensation Policy stated that failure to satisfy the necessary

 conditions for payment of the 2015 compensation “shall mean that the Shareholder’s right to

 receive a particular payment shall not have vested or be payable.”

        212.    Payment of the Shareholder Equalization Payment and the targeted Shareholder

 Performance Payment were also subject to a waterfall payment structure set forth in the 2015

 Compensation Policy, with four waterfalls set forth therein.

        213.    The Shareholder Equalization Payment was included in Waterfall 1 and the

 targeted Shareholder Performance Payment was included in Waterfall 4.

        214.    The Debtor did not satisfy the necessary financial performance to pay

 shareholders the Shareholder Equalization Payment, the Shareholder Performance Payment, and

 the 2015 Retention Incentive under the 2015 Compensation Policy in full.

        215.    As the Debtor did not satisfy the necessary conditions precedent, the Defendant

 should not have received the Shareholder Equalization Payment and the targeted Shareholder

 Performance Payment payments under the 2015 Compensation Policy.




                                                38
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54            Desc Main
                                Document    Page 39 of 69



         216.   In violation of the Board Resolutions and the 2015 Compensation Policy, the

 Defendant received a $42,500 Shareholder Equalization Payment and a $29,750 Shareholder

 Performance Payment.

                iii.    2016 Compensation Policy

         217.   In 2016 and in addition to the Board Resolutions, shareholder compensation was

 governed by the Amended and Restated 2016 Shareholder Compensation Policy, adopted June 3,

 2016, which amended and restated the policy adopted September 2, 2015 (the “2016

 Compensation Policy”).

         218.   The 2016 Compensation Policy stated that shareholders’ compensation from the

 Debtor was comprised of (a) Regular Salary, (b) the Shareholder Equalization Payment, and

 (c) the Targeted Pro-Rata Payments (each as defined in the 2016 Compensation Policy).

         219.   The Shareholder Equalization Payment and the Targeted Pro-Rata Payments were

 Contingent Income subject to, among other things, the Debtor’s financial performance during the

 year.

         220.   The 2016 Compensation Policy stated that failure to satisfy the necessary

 conditions for payment of the 2016 compensation “shall mean that the Shareholder’s right to

 receive a particular payment shall not have vested or be payable.”

         221.   Payment of the Shareholder Equalization Payment and the Target Pro Rata

 Payments were also subject to a waterfall payment structure set forth in the 2016 Compensation

 Policy, with four waterfalls set forth therein.

         222.   The Shareholder Equalization Payment was included in Waterfall 2 and the

 Target Pro Rata Payment was included in Waterfall 3.

         223.   The Debtor did not make contingent Shareholder Equalization Payments or

 Targeted Pro-Rata Payments under the 2016 Compensation Policy.
                                                   39
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                 Document    Page 40 of 69



                 iv.      2017-18 Compensation Policy

         224.    In 2017 and 2018 and in addition to the Board Resolutions, shareholder and

 member compensation, as applicable, was governed by the Member Compensation Policy,

 adopted June 13, 2017 (the “2017-2018 Compensation Policy”).

         225.    The 2017-2018 Compensation Policy states that “[t]he Member compensation

 system set forth in this policy recognizes that, at the end of every calendar year, Members split

 whatever profit remains after payment of properly payable Firm expenses and a reserve for

 working capital and for a bonus pool. The Firm cannot pay out more than it earns, nor can it

 borrow funds from future years and future partners to pay Members money that was not earned

 in a particular year.”

         226.    Pursuant to the 2017-2018 Compensation Policy, the Debtor paid members

 through draws (the “Member Draws”).

         227.    The Debtor did not earn a profit in either 2017 or 2018.

         228.    Because the Debtor did not earn a profit in either 2017 or 2018, it was not entitled

 to distribute any Member Draws in 2017 or 2018.

         229.    In 2017, the Debtor incurred a net loss of about $2,743,993.

         230.    In 2018, the Debtor incurred a net loss of about $16,890,705.

         231.    In both 2017 and 2018, the Debtor paid out to shareholders and/or members, as

 applicable, more than the Debtor earned.

         232.    In 2018, the Debtor transferred $213,846 in Contingent Income and Member

 Draws to the Defendant.

         233.    The transfers of Contingent Income and Member Draws in 2017 and 2018 were

 made by the Debtor to the Defendant with the intent to hinder, delay, and/or defraud the Debtor’s

 creditors and while the Debtor was insolvent.
                                                  40
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                Document    Page 41 of 69



        234.    The Defendant knew or should have known that the Debtor paid the Contingent

 Income and Member Draws in 2017 and 2018 while the Debtor was insolvent, that the conditions

 precedent to pay these amounts were not satisfied, and that the payments were made with an

 intent to hinder, delay, and/or defraud the Debtor’s creditors

                v.      2019 Member Compensation Policy

        235.    In 2019 and in addition to the Board Resolutions, member compensation was

 governed by the Member Compensation Policy, adopted February 18, 2019 (the “2019

 Compensation Policy,” and together with the 2014 Compensation Policy, the 2015

 Compensation Policy, the 2016 Compensation Policy, and the 2017-2018 Compensation Policy,

 the “Compensation Policies”).

        236.    The 2019 Compensation Policy states that “[t]he Member compensation set forth

 in this policy recognizes that Members split whatever profit remains after payment of properly

 payable Firm expenses and a reserve for working capital. The Firm cannot distribute to

 Members more than it earns in profit in any particular calendar year, regardless of the manner in

 which profit that is distributed. While the Firm may attribute portions of a current year profit

 pool based on past performance, it cannot borrow funds from future years or future partners to

 pay Members for profit that was not generated in a particular year.”

        237.    Pursuant to the 2019 Compensation Policy, the Debtor paid members through

 Member Draws.

        238.    The Debtor did not earn a profit in 2019. From January 1 to September 3, 2019,

 the Debtor incurred a net loss of over $13,000,000.

        239.    In 2019, the Debtor paid out to members more than the Debtor earned.

        240.    In 2019, the Debtor transferred $128,942 in Member Draws to the Defendant.



                                                 41
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                Document    Page 42 of 69



        241.    The payment of the Member Draws in 2019 were made by the Debtor to the

 Defendant with the intent to hinder, delay, and/or defraud the Debtor’s creditors and while the

 Debtor was insolvent.

        242.    The Defendant knew or should have known the Debtor paid the Member Draws in

 2019 while the Debtor was insolvent, that the conditions precedent to pay these amounts were

 not satisfied, and that the payments were made with an intent to hinder, delay, and/or defraud the

 Debtor’s creditors.

                vi.      Wells Fargo Cash Covenant and the Cash Covenant Payments

        243.    A portion of the Contingent Income that the Defendant received from the Debtor

 were payments made in violation of the Debtor’s agreement with Wells Fargo Bank, N.A.

 (“Wells Fargo”) under the Second Amended and Restated Loan and Security Agreement

 between the Debtor and Wells Fargo (as amended, modified, or supplemented, the “Wells Fargo

 Loan Document”).

        244.    From the period of no later than September 3, 2014 to December 29, 2017, the

 Debtor borrowed funds from Wells Fargo pursuant to the Wells Fargo Loan Document.

        245.    Pursuant to the Wells Fargo Loan Document, the Debtor was required to maintain

 positive cash flows as of each fiscal year end for such year (the “Wells Fargo Cash Covenant”).

 The Debtor, with fraudulent intent, manipulated certain payments made to the Debtor’s

 shareholders so as to not violate the Wells Fargo Cash Covenant and to hinder, delay, and/or

 defraud the Debtor’s creditors. Specifically, on December 31, 2014, for tax purposes, the Debtor

 dated certain payments to shareholders, including the Defendant, but instructed its payroll

 provider to not release the shareholder compensation funds until January 6, 2015 (the “Initial

 Cash Covenant Payments” and each an “Initial Cash Covenant Payment”).



                                                42
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54           Desc Main
                                 Document    Page 43 of 69



        246.    Again, on December 31, 2015, the Debtor dated certain payments to shareholders,

 including the Defendant, for tax purposes but did not distribute those payment to shareholders

 until January 4, 2016 (collectively with the Initial Cash Covenant Payments, the “Cash Covenant

 Payments” and each, with the Initial Cash Covenant Payment, a “Cash Covenant Payment”).

        247.    The Cash Covenant Payments were delayed until January 6, 2015 and January 4,

 2016 with the express purpose to avoid reporting the cash outflow for the Wells Fargo Cash

 Covenant. Otherwise, if the Debtor had made the Cash Covenant Payments on December 31,

 2014 and December 31, 2015, it would have violated the Wells Fargo Cash Covenant at the end

 of each calendar year.

        248.    The Defendant knew or should have known that the Cash Covenant Payments

 were a violation of the Wells Fargo Cash Covenant.

        249.    For example, in a December 22, 2015 shareholder information meeting,

 shareholders were told that Shareholder Payments would be funded in 2015, but not paid until

 2016 because of a “Wells Fargo cash covenant compliance issue. … Wells Fargo cash covenants

 regarding the Firm’s cash profits/loss prohibit the payments of both …payroll and Shareholder

 Equalization payments…” Despite failing to meet the necessary budget metrics, shareholders

 were told that some payments “will be paid December 31, 2015 via live check” and “available

 for pickup in the office January 4th, 2016.”

        250.    Defendant received Cash Covenant Payments totaling $25,500, which were paid

 by the Debtor to the Defendant as part of his Contingent Income.

 VI.    Shareholder and Member Compensation From                    the   Debtor’s    Deferred
        Compensation and Supplemental Retirement Plans

        251.    As discussed above, the Debtor maintained and funded the Deferred

 Compensation Plan and the SERP as additional compensation for shareholders. Among the

                                                43
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                 Desc Main
                                 Document    Page 44 of 69



 improper Deferred Compensation Distributions and SERP Distributions were payments made to

 the Defendant.

        A.        Termination of the Deferred Compensation Plan and the SERP

        252.      As detailed above, notwithstanding the Retirement Plan Committee’s refusal to

 endorse an accelerated termination, on December 29, 2017, the Board, with the Defendant’s

 support, formally voted to terminate the Deferred Compensation Plan and SERP, effective

 December 31, 2017.

        253.      The termination allowed the Debtor to distribute the funds in the Deferred

 Compensation Plan to its members, diverting them away from the Firm’s general unsecured

 creditors.

        254.      The Board, with the Defendant’s support, made this decision knowing that it

 would “benefit high performing Shareholders,” and made that a factor in trying to message the

 payments made to shareholders in the year ending 2017.

        255.      At the time that this decision was made, the Board anticipated and represented

 that “[t]he Firm will have to fund the payment gap in the [Deferred Compensation] Plan and that

 [it] will be in the 2019 budget, but not a 2018 expense.”

        256.      Notwithstanding that the decision to accelerate the termination was made because

 the payments would be in the 2019 budget, and not in 2018 budget and that the tax code allowed

 until December 2019 for the funds to be distributed to the members, the Board voted on

 December 28, 2017, to distribute the funds on December 2018.

        257.      Such a decision was made to benefit the individual members of the firm, as a

 distribution from the termination of the Deferred Compensation Plan or SERP would “ordinarily

 would be taxable to the Partners, but it is anticipated that the approximately $3 million in

 projected PLLC-related tax savings to Partners will effectively offset much of the tax.”
                                                 44
Case 19-34574-KRH           Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                   Document    Page 45 of 69



         258.    As described above, the Rabbi Trust Agreement had a Cease Payments When

 Insolvent Requirement and provided that the Rabbi Trust was subject to the claims of the general

 creditors of the Debtor.

         259.    The Defendant was aware, or should have been aware, that the assets were

 available to satisfy creditors.

         260.    For instance, in the 2015 Plan Year Enrollment Kit, all participants were told that

 “assets held in the Rabbi Trust are considered Company assets and are available to satisfy the

 claims of creditors of the Company. In the event the Company becomes insolvent, you are an

 unsecured general creditor of the Company with regard to your benefits under the Plan.”

         B.      Distributions from the Deferred Compensation Fund and SERP

         261.    The Defendant received distributions from the Rabbi Trust in a total amount of

 $207,312 between September 1, 2014 and December 31, 2018 (the “Deferred Compensation

 Payments”). That amount includes a distribution from the Rabbi Trust of $207,312 on December

 31, 2018.

         262.    Notwithstanding the express Insolvency Notification Requirement in the Rabbi

 Trust Agreement, upon information and belief, the Debtor, including the Defendant, failed to

 ever provide notice of its insolvency to the Rabbi Trust’s trustee upon its insolvency or prior to

 the distribution of Rabbi Trust assets to shareholders/members.

         263.    As the Debtor was insolvent at the time of the distribution from the Rabbi Trust to

 the Defendant, the Defendant was not entitled to receive a distribution from the Rabbi Trust

 because of the Cease Payments When Insolvent Requirement and the Rabbi Trust’s assets should

 have been maintained for the benefit of the Debtor’s general creditors.

         264.    The payment of the distribution from the Rabbi Trust to the Defendant was made

 by the Debtor to the Defendant with the intent to hinder, delay, and defraud the Debtor’s
                                                 45
Case 19-34574-KRH           Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                   Document    Page 46 of 69



 creditors and while the Debtor was insolvent. The Defendant knew or should have known that

 distribution from the Rabbi Trust occurred while the Debtor was insolvent, and that the payments

 were made with an intent to hinder, delay, and/or defraud the Debtor’s creditors.

        265.    Additionally, shareholders, including the Defendant, received Deferral Payments.

 Here, the Defendant received a total of $33,911 of Deferral Payments, i.e., funds that were never

 held in the Secular Trust.

        266.    The Deferral Payments were made by the Debtor to the Defendant with the intent

 to hinder, delay, and defraud the Debtor’s creditors and while the Debtor was insolvent.

                                      CLAIMS FOR RELIEF

 COUNT I:         Breach of Fiduciary Duty in Violation of Va. Code Ann. § 13.1–690

        267.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        268.    The Defendant was a director and officer of LCR and owed LCR fiduciary duties

 of due care and loyalty.

        269.    Beginning at least in 2014 and continuing until the Petition Date, the Debtor was

 insolvent. Consequently, the Defendant owed fiduciary duties of due care and loyalty to the

 Debtor’s creditors.

        270.    The Defendant failed to discharge these fiduciary duties to LCR and to the Firm’s

 creditors by committing wrongful acts and omissions, and engaging in self-dealing. Included in

 these acts and omissions are the Defendant’s approval of the early termination and payout of the

 Deferred Compensation Distributions and SERP Distributions, the failure to notify the Rabbi

 Trust of the Firm’s insolvency, the approval of the 2017 401(k) Contributions and 2018 401(k)

 Contributions, the approval of the 2017 Dividend Payments, the approval of the 2017 Bonus

 Payments and 2018 Bonus Payments, the allowance of continued SLC Compensation, the
                                                  46
Case 19-34574-KRH           Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                   Document    Page 47 of 69



 approval of Banner Payments, the approval of ULXP Transaction Costs, the approval of the

 Alexandria Lease Debt, the waste of corporate assets resulting in the NLG Damages, and the

 associated failure to dissolve the Firm in a timely fashion.

        271.    The Defendant also concealed the true state of the Firm, which was insolvent at

 all times since 2014, from, among others, the Firm’s creditors, including by causing or

 permitting the Cash Covenant Payments in violation of the Wells Fargo Cash Covenant.

        272.    As a direct and proximate cause of Defendant’s foregoing breaches of fiduciary

 duty and self-dealing, the Debtor and its creditors sustained damages of at least $41.1 million.

        273.    Pursuant to Virginia Code Section 13.1–690, the Trustee is entitled to judgment

 against the Defendant and recovery of the damages suffered by the Debtor and its creditors in an

 amount to be proved at trial.

 COUNT II:           Common Law Breach of Fiduciary Duty

        274.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        275.    The Defendant was a director and officer of LCR and owed LCR fiduciary duties

 of due care and loyalty.

        276.    Beginning at least in 2014 and continuing until the Petition Date, LCR was

 insolvent. Consequently, the Defendant owed fiduciary duties of due care and loyalty to the

 Firm’s creditors.

        277.    The Defendant failed to discharge these fiduciary duties to the Debtor and to the

 Debtor’s creditors by committing wrongful acts and omissions, and engaging in self-dealing.

 Included in these acts and omissions are the Defendant’s approval of the early termination and

 payout of the Deferred Compensation Distributions and SERP Distributions, the failure to notify

 the Rabbi Trust of the Firm’s insolvency, the approval of the 2017 401(k) Contributions and
                                                  47
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                Document    Page 48 of 69



 2018 401(k) Contributions, the approval of the 2017 Dividend Payments, the approval of the

 2017 Bonus Payments and 2018 Bonus Payments, the allowance of continued SLC

 Compensation, the approval of Banner Payments, the approval of ULXP Transaction Costs, the

 approval of the Alexandria Lease Debt, the waste of corporate assets resulting in the NLG

 Damages, and the associated failure to dissolve the Firm in a timely fashion.

        278.    The Defendant also concealed the true state of the Firm, which was insolvent at

 all times since 2014, from, among others, the Firm’s creditors, including by causing or

 permitting the Cash Covenant Payments in violation of the Wells Fargo Cash Covenant.

        279.    As a direct and proximate cause of Defendant’s foregoing breaches of fiduciary

 duty and self-dealing, the Debtor and its creditors sustained damages of at least $41.1 million.

        280.    The Trustee is entitled to judgment against the Defendant and recovery of the

 damages suffered by the Debtor and its creditors in an amount to be proved at trial.

 COUNT III:       Unlawful Distribution in Violation of Va. Code Ann. §§ 13.1-653, 13.1-690
                  and 13.1–692

        281.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        282.    Beginning at least in 2014 and continuing until the Petition Date, the Debtor was

 insolvent.

        283.    From February 2014 continuing until the Petition Date, the Defendant was a

 director and manager of LCR.

        284.    In violation of Va. Code §§ 13.1-653 and 13.1-692 and without complying with

 Va. Code § 13.1-690, the Defendant approved and/or caused shareholder distributions in the

 form of member distributions, extraordinary bonuses, and contributions to and early termination

 and payout of the Deferred Compensation Plan and the SERP at a time when, after giving effect

                                                  48
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                Document    Page 49 of 69



 to all such shareholder distributions, LCR would be unable to pay its debts as they became due in

 the usual course of business.

          285.   Pursuant to Va. Code Va. Code §§ 13.1-653, 13.1-690 and 13.1-692 the

 Defendant is personally liable for these unlawful shareholder distributions.

          286.   The Trustee is entitled to recover the unlawful shareholder distributions from the

 Defendant in an amount to be proved at trial.

 COUNT IV:        Avoidance and Recovery of Transfers of Contingent Income and Member
                  Draws Made in Violation of the Shareholder Agreements, the Board
                  Resolutions, and the Compensation Policies as Actual Fraudulent
                  Transfers Pursuant to 11 U.S.C. §§ 548(a)(1)(A) & 550

          287.   The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

          288.   The Debtor transferred $342,788 in Contingent Income and Member Draws to the

 Defendant within two years of the Petition Date.

          289.   The Contingent Income and Member Draws constitute multiple transfers of

 property of the Debtor to the Defendant.

          290.   The Defendant is an initial transferee of the Contingent Income and Member

 Draws for whose benefit the transfers were made.

          291.   The transfers of Contingent Income and Member Draws were distributed to the

 Defendant while the Debtor was insolvent and unable to pay its debts as they became due.

          292.   The Debtor distributed the Contingent Income and Member Draws with the actual

 intent to hinder, delay, and/or defraud any entity which the Debtor was indebted or became

 indebted to on or after the date of each of the transfers of Contingent Income and Member

 Draws.




                                                  49
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                Document    Page 50 of 69



        293.    The Trustee may rely on, and the circumstances reflect, several badges of fraud

 relating to the Contingent Income and Member Draws including, but not limited to the

 following: (a) the Debtor was insolvent and unable to pay its debts as they became due when it

 made the transfers of Contingent Income and Member Draws; (b) the transfers of Contingent

 Income and Member Draws were distributed to the Defendant, a shareholder/member of the

 Debtor; (c) the transfers of Contingent Income and Member Draws were distributed to the

 Defendant in violation of the Shareholder Agreements, the Board Resolutions, and the

 Compensation Policies; and (d) the transfers of Contingent Income and Member Draws amount

 to significant portions of the Debtor’s Estate.

        294.    Furthermore, the Defendant knew or should have known that the Debtor made the

 transfers of Contingent Income and Member Draws while the Debtor was insolvent by virtue of

 the Defendant’s position as a shareholder and member.            The Defendant had access to the

 Debtor’s books and records and received frequent communication from the Debtor and its agents

 regarding the Debtor’s financial position, and as a shareholder and member evaluating the

 Debtor’s financial state is routine business practice in the legal industry.

        295.    Pursuant to Section 548(a)(1)(A) and Section 550 of the Bankruptcy Code, the

 Trustee is entitled to judgment against the Defendant: (a) avoiding the transfers of Contingent

 Income and Member Draws (b) directing the transfers of Contingent Income and Member Draws

 be set aside, and (c) requiring the Defendant, as the recipient of the transfers of Contingent

 Income and Member Draws and/or the person for whose benefit the transfers of Contingent

 Income and Member Draws were given, to return the transfers of Contingent Income and

 Member Draws or the value thereof, to the Trustee for the benefit of the Estate.




                                                   50
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54            Desc Main
                                Document    Page 51 of 69



 COUNT V:         Avoidance and Recovery of Contingent Income and Member Draws Made
                  in Violation of the Shareholder Agreements, the Board Resolutions, and
                  the Compensation Policies as Actual Fraudulent Transfers Pursuant to 11
                  U.S.C. §§ 544, 550, and Va. Code § 55.1-400

        296.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        297.    The Debtor transferred $545,038 in Contingent Income and Member Draws to the

 Defendant between September 3, 2014 and the Petition Date.

        298.    The transfers of Contingent Income and Member Draws constitute multiple

 transfers of property of the Debtor to the Defendant.

        299.    The transfers of Contingent Income and Member Draws were distributed to the

 Defendant while the Debtor was insolvent and unable to pay its debts as they became due.

        300.    The Debtor transferred Contingent Income and Member Draws with the actual

 intent to hinder, delay, and/or defraud one or more of the entities the Debtor was indebted or

 became indebted to on or after the date of each of the transfers of Contingent Income and

 Member Draws.

        301.    The transfers of Contingent Income and Member Draws to the Defendant were

 accompanied by several badges of fraud, including, but not limited to the following: (a) the

 Debtor was insolvent and unable to pay its debts as they became due when it made the transfers

 of Contingent Income and Member Draws; (b) the transfers of Contingent Income and Member

 Draws were distributed to the Defendant, a shareholder of the Debtor; (c) the transfers of

 Contingent Income and Member Draws were distributed to the Defendant in violation of the

 Shareholder Agreements, Board Resolutions, the Compensation Policies, and/or applicable

 Virginia law; (d) the transfers of Contingent Income and Member Draws amount to significant

 portions of the Debtor’s Estate; and (e) the transfers of Contingent Income and Member Draws

                                                  51
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                Document    Page 52 of 69



 were distributed to the Defendant in secrecy or concealment—particularly as it relates to the

 Cash Covenant Payments.

        302.    The transfers of Contingent Income and Member Draws were distributed to or for

 the benefit of the Defendant.

        303.    Pursuant to Virginia Code Section 55.1-400, 11 U.S.C. § 544 and 11 U.S.C. §

 550, the Trustee is entitled to judgment against the Defendant: (a) avoiding the transfers of

 Contingent Income and Member Draws (b) directing the transfers of Contingent Income and

 Member Draws be set aside, and (c) requiring the Defendant, as the recipient of the transfers of

 Contingent Income and Member Draws and/or the person for whose benefit the transfers of

 Contingent Income and Member Draws were given, to return the transfers of Contingent Income

 and Member Draws or the value thereof, to the Trustee for the benefit of the Estate.

 COUNT VI:        Avoidance and Recovery of Transfers of Contingent Income and Member
                  Draws Made in Violation of the Shareholder Agreements, the Board
                  Resolutions and Compensation Policies as Constructive Fraudulent
                  Transfers Pursuant to 11 U.S.C. §§ 548(a)(1)(B) & 550

        304.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        305.    The Debtor transferred $342,788 in Contingent Income and Member Draws to the

 Defendant within two years of the Petition Date.

        306.    The transfers of Contingent Income and Member Draws constitute multiple

 transfers of property of the Debtor’s Estate to the Defendant.

        307.    The transfers of Contingent Income and Member Draws were distributed to the

 Defendant while the Debtor was insolvent and unable to pay its debts as they became due.

        308.    The transfers of Contingent Income and Member Draws were distributed to or for

 the benefit of the Defendant.

                                                  52
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                 Document    Page 53 of 69



        309.      The Defendant did not provide reasonably equivalent value in exchange for the

 transfers of Contingent Income and Member Draws.

        310.      Pursuant to Section 548(a)(1)(B) and Section 550 of the Bankruptcy Code, the

 Trustee is entitled to judgment against the Defendant: (a) avoiding the transfers of Contingent

 Income and Member Draws (b) directing the transfers of Contingent Income and Member Draws

 be set aside, and (c) requiring the Defendant, as the person for whose benefit the transfers of

 Contingent Income and Member Draws were given, to return the transfers of Contingent Income

 and Member Draws or the value thereof, to the Trustee for the benefit of the Estate.

 COUNT VII:        Recovery Under Conversion for Transfers of Contingent Income, Member
                   Draws, Deferral Payments and Deferred Compensation Payments

        311.      The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        312.      The Debtor did not satisfy the necessary conditions precedent for the Defendant to

 receive the transfers of Contingent Income, Member Draws, Deferral Payments and/or Deferred

 Compensation Payments to the Defendant in all relevant years. Accordingly, the transfers of

 Contingent Income, Member Draws, Deferral Payments and/or Deferred Compensation

 Payments were wrongfully paid to the Defendant.

        313.      The Debtor is entitled to immediate possession of Contingent Income, Member

 Draws, Deferral Payments and/or Deferred Compensation Payments transferred to the

 Defendant.

        314.      The Trustee is entitled to recover the damages suffered by the Debtor in the

 amount to be proven at trial, but in no event less than the total amount of transfers of Contingent

 Income, Member Draws, Deferral Payments and/or Deferred Compensation Payments made to

 the Defendant.

                                                  53
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                Document    Page 54 of 69



 COUNT VIII: Recovery Under Unjust Enrichment for Transfers of Contingent Income,
             Member Draws, Deferral Payments and Deferred Compensation Payments

        315.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        316.    The Debtor did not satisfy the necessary conditions precedent for the Defendant to

 receive the transfers of Contingent Income, Member Draws, Deferral Payments and/or Deferred

 Compensation Payments to the Defendant in all relevant years.

        317.    The Debtor conferred a benefit on the Defendant through the conveyance of the

 transfers of Contingent Income, Member Draws, Deferral Payments and/or Deferred

 Compensation Payments.

        318.    The Defendant accepted and retained the benefit of the transfers of Contingent

 Income, Member Draws, Deferral Payments and/or Deferred Compensation Payments without

 the Debtor satisfying the conditions precedent necessary to pay the Defendant the Contingent

 Income, Member Draws, Deferral Payments and/or Deferred Compensation Payments.

        319.    The Defendant knew or should have known the Debtor did not satisfy the

 conditions precedent necessary for the Defendant to receive the transfers of Contingent Income,

 Member Draws, Deferral Payments and/or Deferred Compensation Payments.

        320.    Allowing the Defendant to retain the benefits he received would be unjust.

        321.    As a direct and proximate result of the foregoing wrongful acts and Defendant’s

 unjust enrichment, the Debtor sustained damages in the amount of the transfers of Contingent

 Income, Member Draws, Deferral Payments and/or Deferred Compensation Payments and the

 Trustee is entitled to recover the same.




                                                  54
Case 19-34574-KRH          Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54             Desc Main
                                  Document    Page 55 of 69



 COUNT IX:         Recovery Under Violation of Virginia Limited Liability Company Statute
                   Va. Code § 13.1-1035 for the Transfers of Member Draws While the Debtor
                   was a PLLC pursuant to 11 U.S.C. §§ 544, 550, and Va. Code. § 13.1-1035

         322.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

         323.    During the time in which the Debtor was a Virginia PLLC, the Debtor transferred

 $342,788 in Member Draws to the Defendant.

         324.    The Defendant was a member of the Debtor at the time it was a PLLC.

         325.    As a PLLC, the Debtor was subject to the laws of the Virginia Limited Liability

 Company Act.

         326.    During its time as a PLLC, the Debtor transferred the Member Draws to the

 Defendant while the Debtor was not able to pay its debt as they became due in the ordinary

 course of business.

         327.    During its time as a PLLC, the Debtor’s total assets were less than the sum of the

 Debtor’s total liabilities.

         328.    The transfers of Member Draws from the Debtor to the Defendant was in

 violation of the Virginia Limited Liability Company Act.

         329.    Pursuant to Virginia Code Section 13.1-1035, the Trustee is entitled to judgment

 avoiding the transfers of Member Draws and ordering the Defendant to return such amount or

 the value thereof to the Debtor’s Estate.

 COUNT X:          Avoidance and Recovery of Transfers of Deferral Payments as Actual
                   Fraudulent Transfers Pursuant to 11 U.S.C. §§ 548(a)(1)(A) & 550

         330.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.




                                                  55
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                 Document    Page 56 of 69



        331.      Within two years of the Petition Date, the Debtor transferred $33,911 in Deferral

 Payments to the Defendant.

        332.      The Deferral Payments constitute multiple transfers of property of the Debtor to

 the Defendant.

        333.      The Debtor was insolvent at the time of the Deferral Payments.

        334.      The Debtor made the Deferral Payments with the actual intent to hinder, delay,

 and/or defraud one or more of the entities the Debtor was indebted or became indebted to on or

 after the date of such Deferral Payments.

        335.      The Trustee may rely on, and the circumstances reflect, several badges of fraud

 relating to the Deferral Payments including, but not limited to the following: (a) the Debtor was

 insolvent and unable to pay its debts as they became due when it made the Deferral Payments;

 (b) the Deferral Payments were distributed to the Defendant, a shareholder and member of the

 Debtor; (c) the Deferral Payments were distributed to the Defendant in violation of the SERP and

 the SERP Plan Document, and (c) the Deferral Payments amount to significant portions of the

 Debtor’s Estate.

        336.      Furthermore, Defendant knew or should have known that the Debtor made the

 Deferral Payments while the Debtor was insolvent by virtue of the Defendant’s position as

 shareholder and member. The Defendant had access to the Debtor’s books and records and

 received frequent communication from the Debtor and its agents regarding the Debtor’s financial

 position, and as a shareholder and member evaluating the Debtor’s financial state is routine

 business practice in the legal industry.

        337.      The Defendant is an initial transferee of such transfer for whose benefit the

 transfer was made.


                                                 56
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                  Desc Main
                                Document    Page 57 of 69



        338.    Pursuant to Section 548(a)(1)(A) and Section 550 of the Bankruptcy Code, the

 Trustee is entitled to judgment against the Defendant: (a) avoiding the Deferral Payments,

 (b) directing the Deferral Payments be set aside, and (c) requiring the Defendant, as the recipient

 of the Deferral Payments and/or the person for whose benefit the Deferral Payments were given,

 to return the Deferral Payments, or the value thereof, to the Trustee for the benefit of the Estate.

 COUNT XI:        Avoidance and Recovery of Transfers of Deferral Payments as Actual
                  Fraudulent Transfers Pursuant to 11 U.S.C. §§ 544, 550, and Va. Code
                  § 55.1-400

        339.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        340.    The Debtor transferred $33,911 to the Defendant as Deferral Payments between

 September 3, 2014 and the Petition Date.

        341.    The Deferral Payments were transferred to the Defendant while the Debtor was

 insolvent and unable to pay its debts as they became due.

        342.    The Debtor transferred the Deferral Payments with the actual intent to hinder,

 delay, and/or defraud one or more of the entities the Debtor was indebted or became indebted to

 on or after the date of each of the Deferral Payments.

        343.    The Deferral Payments to the Defendant were accompanied by several badges of

 fraud, including, but not limited to the following: (a) the Debtor was insolvent and unable to pay

 its debts as they became due when it made the Deferral Payments; (b) the Deferral Payments

 were distributed to the Defendant, a shareholder/member of the Debtor; (c) the Deferral

 Payments were distributed to the Defendant in violation of the SERP and the SERP Plan

 Document, and (c) the Deferral Payments amount to significant portions of the Debtor’s Estate.

        344.    The Deferral Payments were distributed to or for the benefit of the Defendant.



                                                  57
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                 Desc Main
                                Document    Page 58 of 69



        345.    Pursuant to Virginia Code Section 55.1-400, 11 U.S.C. § 544 and 11 U.S.C. §

 550, the Trustee is entitled to judgment against the Defendant: (a) avoiding the Deferral

 Payments, (b) directing the Deferral Payments be set aside, and (c) requiring the Defendant, as

 the recipient of the Deferral Payments and/or the person for whose benefit the Deferral Payments

 were given, to return the Deferral Payments, or the value thereof, to the Trustee for the benefit of

 the Estate.

 COUNT XII:       Avoidance and Recovery of the Deferred Compensation Payments Made in
                  Violation of the Deferred Compensation Plan and Rabbi Trust Agreement
                  as an Actual Fraudulent Transfer Pursuant to 11 U.S.C. §§ 548(a)(1)(A) &
                  550

        346.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        347.    Within two years prior to the Petition Date, the Debtor transferred $207,312 to the

 Defendant in the form of Deferred Compensation Payments.

        348.    The Deferred Compensation Payments were transferred to the Defendant while

 the Debtor was insolvent and unable to pay its debts as they became due.

        349.    The Deferred Compensation Payments were transferred to or for the benefit of the

 Defendant.

        350.    The Debtor transferred the Deferred Compensation Payments with the actual

 intent to hinder, delay, and/or defraud one or more of the entities the Debtor was indebted or

 became indebted to on or after the date of the first Deferred Compensation Payment.

        351.    The transfer of the Deferred Compensation Payments to the Defendant was

 accompanied by several badges of fraud, including, but not limited to the following: (a) the

 Debtor was insolvent and unable to pay its debts as they became due when it made the Deferred

 Compensation Payments; (b) the Deferred Compensation Payments was transferred to the

                                                  58
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                Document    Page 59 of 69



 Defendant, a shareholder of the Debtor; (c) the Deferred Compensation Payments was

 transferred to the Defendant in violation of the Deferred Compensation Plan, the Deferred

 Compensation Plan Document, and the Rabbi Trust Agreement; and (d) the Deferred

 Compensation Payments amounts to significant portions of the Debtor’s Estate.

        352.    Pursuant to Section 548(a)(1)(A) and Section 550 of the Bankruptcy Code, the

 Trustee is entitled to judgment against the Defendant: (a) avoiding the Deferred Compensation

 Payments, (b) directing the Deferred Compensation Payments be set aside, and (c) requiring the

 Defendant, as the recipient of the Deferred Compensation Payments and/or the person for whose

 benefit the Deferred Compensation Payments was given, to return the Deferred Compensation

 Payments, or the value thereof, to the Trustee for the benefit of the Estate.

 COUNT XIII: Avoidance and Recovery of the Deferred Compensation Payments Made in
             Violation of the Deferred Compensation Plan and Rabbi Trust Agreement
             as an Actual Fraudulent Transfer Pursuant to 11 U.S.C. §§ 544, 550, and
             Va. Code § 55.1-400

        353.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        354.    The Debtor transferred $207,312 to the Defendant as a Deferred Compensation

 Payments between September 3, 2014 to the Petition Date.

        355.    The Deferred Compensation Payments were transferred to the Defendant while

 the Debtor was insolvent and unable to pay its debts as they became due.

        356.    The Debtor transferred the Deferred Compensation Payments with the actual

 intent to hinder, delay, and/or defraud one or more of the entities the Debtor was indebted or

 became indebted to on or after the date of the Deferred Compensation Payments.

        357.    The Deferred Compensation Payments to the Defendant was accompanied by

 several badges of fraud, including, but not limited to the following: (a) the Debtor was insolvent

                                                  59
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                 Document    Page 60 of 69



 and unable to pay its debts as they became due when it made the Deferred Compensation

 Payments; (b) the Deferred Compensation Payments was transferred to the Defendant, a

 shareholder of the Debtor; (c) the Deferred Compensation Payments was distributed to the

 Defendant in violation of the Deferred Compensation Plan, the Deferred Compensation Plan

 Document, and the Rabbi Trust Agreement; and (d) the Deferred Compensation Payments

 amounts to significant portions of the Debtor’s Estate.

           358.   The Deferred Compensation Payments were distributed to or for the benefit of the

 Defendant.

           359.   Pursuant to Virginia Code Section 55.1-400, 11 U.S.C. § 544 and 11 U.S.C. §

 550, the Trustee is entitled to judgment against the Defendant: (a) avoiding the Deferred

 Compensation Payments, (b) directing the Deferred Compensation Payments be set aside, and

 (c) requiring the Defendant, as the recipient of the Deferred Compensation Payments and/or the

 person for whose benefit the Deferred Compensation Payments were given, to return the

 Deferred Compensation Payments, or the value thereof, to the Trustee for the benefit of the

 Estate.

 COUNT XIV: Avoidance and Recovery of the Deferred Compensation Payments Made in
            Violation of the Deferred Compensation Plan and Rabbi Trust Agreement
            as a Constructive Fraudulent Transfer Pursuant to 11 U.S.C.
            §§ 548(a)(1)(B) & 550

           360.   The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

           361.   Within two years prior to the Petition Date, the Debtor transferred $207,312 to the

 Defendant as Deferred Compensation Payments.

           362.   The Deferred Compensation Payments were transferred to the Defendant while

 the Debtor was insolvent and unable to pay its debts as they became due.

                                                  60
Case 19-34574-KRH          Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54               Desc Main
                                  Document    Page 61 of 69



         363.    The Deferred Compensation Payments were transferred to or for the benefit of the

 Defendant.

         364.    The Defendant did not provide reasonably equivalent value in exchange for the

 Deferred Compensation Payments.

         365.    Pursuant to Section 548(a)(1)(B) and Section 550 of the Bankruptcy Code, the

 Trustee is entitled to judgment against the Defendant: (a) avoiding the Deferred Compensation

 Payments, (b) directing the Deferred Compensation Payments be set aside, and (c) requiring the

 Defendant, as the recipient of the Deferred Compensation Payments and/or the person for whose

 benefit the Deferred Compensation Payments were given, to return the Deferred Compensation

 Payments, or the value thereof, to the Trustee for the benefit of the Estate.

 COUNT XV:         Avoidance of Preferential Transfers under 11 U.S.C. § 547(b)

         366.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

         367.    Between the Petition Date and one year before the Petition Date, the Debtor made

 preferential transfers to or for the benefit of the Defendant of no less than $207,312.

         368.    These preferential transfers were for or on account of an antecedent debt owed by

 the Debtor before the transfers were made.

         369.    The Defendant was a statutory insider of the Debtor, within the meaning of

 Section 101(31)(F) of the Bankruptcy Code.

         370.    The Defendant was also a non-statutory insider of the Debtor.

         371.    The Debtor was insolvent at all times within one year of the Petition Date.

         372.    To the extent any portion of any transaction is deemed not recoverable pursuant to

 sections 544 or 548 of the Bankruptcy Code, such portion is plead here, in the alternative, as the

 preferential transfers.
                                                  61
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                 Document    Page 62 of 69



        373.    The preferential transfers enabled the Defendant, as a creditor, to receive more

 than the Defendant would have received had the transfers not been made and the creditor

 received payment of such debt under chapter 7.

        374.    The preferential transfers are avoidable and recoverable as preferences under

 sections 547 and 550 of the Bankruptcy Code.

        375.    The Trustee reserves the right to seek the avoidance and recovery of any and all

 additional preferential transfer that she later discovers.

        376.    The Trustee is entitled to the full amount of the preferential transfers totaling not

 less than $207,312, plus interest, the Trustee’s reasonable attorneys’ fees and costs, and all other

 relief the Court deems just and proper for her efforts to avoid and recover these amounts.

 COUNT XVI: Disallowance of D&O Releases under 11 U.S.C. §§ 548 and 550

        377.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        378.    The Debtor provided the D&O Releases to the Defendant.

        379.    The Debtor received no tangible or concrete value in exchange for granting the

 Defendant the D&O Releases.

        380.    The D&O Releases were a transfer of interest in the Debtor’s property under

 section 548 of the Bankruptcy Code.

        381.    The D&O Releases were granted while the Debtor was insolvent, or became

 insolvent as a result of the transfer of the D&O Releases to the Defendant.

        382.    The D&O Releases were transferred with the actual intent to hinder, delay, and/or

 defraud one or more of the entities the Debtor was indebted to or became indebted to on or after

 the date of the granting of the D&O Releases.



                                                   62
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                 Document    Page 63 of 69



         383.    The D&O Releases were accompanied by several badges of fraud, including, but

 not limited to the following: (a) the Debtor was insolvent and unable to pay its debts as they

 became due when it granted the D&O Releases; (b) the D&O Releases were granted to the

 Defendant, a shareholder of the Debtor; and (c) the D&O Releases constitute a significant

 portion of the Debtor’s Estate.

         384.    When the D&O Releases were granted, the Debtor intended to incur, or believed

 that it would incur, debts beyond the Debtor’s ability to pay as such debts matured.

         385.    At the time of, or as a result of the D&O Releases, the Debtor was engaged in a

 business or a transaction for which any property remaining with such Debtor was unreasonably

 small in relation to its business.

         386.    At all relevant times, the Debtor had at least one creditor holding unsecured

 claims allowable within the meaning of section 502 of the Bankruptcy Code.

         387.    The Debtor received less than a reasonably equivalent value in exchange for the

 D&O Releases.

         388.    The D&O Releases were made within two (2) years prior to the Petition Date and

 are avoidable transfers pursuant to section 548(a)(1) of the Bankruptcy Code.

         389.    Pursuant to section 550 of the Bankruptcy Code the transfer of the Debtor’s rights

 are voidable by the Trustee.

         390.    The Trustee reserves the right to seek the avoidance and recovery of any and all

 additional avoidable transfers that she later discovers.

         391.    The Trustee is entitled to avoid the transfer of the D&O Releases to and for the

 benefit of the Defendant, and all other relief the Court deems just and proper for her efforts to

 avoid and recover these fraudulent transfers.


                                                  63
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                Document    Page 64 of 69



 COUNT XVII: Avoidance of D&O Releases under 11 U.S.C. §§ 544 and 550 and
             Applicable State Law

        392.    The Trustee repeats and re-alleges the allegations set forth in all preceding

 paragraphs of this Complaint, as if set forth herein.

        393.    Under Bankruptcy Code section 544(b), the Trustee has the rights and powers of

 an actual creditor holding a claim which is allowable under Bankruptcy Code section 502.

        394.    The D&O Releases granted to the Defendant were transfers in the Debtor’s

 property.

        395.    The D&O Releases were transferred with the actual intent to hinder, delay, and/or

 defraud one or more of the entities the Debtor was indebted to or became indebted to on or after

 the date of the granting of the D&O Releases.

        396.    The D&O Releases were accompanied by several badges of fraud, including, but

 not limited to the following: (a) the Debtor was insolvent and unable to pay its debts as they

 became due when it granted the D&O Releases; (b) the D&O Releases were granted to the

 Defendant, a shareholder of the Debtor; and (c) the D&O Releases constitute a significant

 portion of the Debtor’s Estate.

        397.    At all relevant times, the Debtor had at least one creditor holding an unsecured

 claim that is allowable under section 502 of Bankruptcy Code that arose before or within a

 reasonable time after the transfer was made.

        398.    The Debtor received no tangible or concrete value in exchange for the D&O

 Releases.

        399.    The D&O Releases were transfers of interest in the Debtor’s property.

        400.    The D&O Releases were granted while the Debtor was insolvent, or became

 insolvent as a result of the D&O Releases to the Defendant.

                                                  64
Case 19-34574-KRH         Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                 Document    Page 65 of 69



         401.    When the D&O Releases were granted, the Debtor intended to incur, or believed

 that it would incur, debts beyond the Debtor’s ability to pay as such debts matured.

         402.    At the time of, or as a result of the D&O Releases, the Debtor was engaged in a

 business or a transaction for which any property remaining with such Debtor was unreasonably

 small in relation to its business.

         403.    At all relevant times, the Debtor had at least one creditor holding unsecured

 claims allowable within the meaning of section 502 of the Bankruptcy Code.

         404.    The Debtor received less than a reasonably equivalent value in exchange for the

 D&O Releases.

         405.    The D&O Releases were granted to or for the benefit of the Defendant.

         406.    The D&O Releases were granted within the five (5) years before the Petition Date

 should be avoided pursuant to applicable provisions section 544(b) and 550 of the Bankruptcy

 Code.

         407.    The Trustee reserves the right to seek the avoidance and recovery of any and all

 additional avoidable transfers that she later discovers.

         408.    The Trustee is entitled to avoid the transfer of the D&O Releases to and for the

 benefit of the Defendant, and all other relief the Court deems just and proper for her efforts to

 avoid and recover these fraudulent transfers.

                                              PRAYER

         WHEREFORE, the Trustee respectfully requests and prays that the Court:

         A.        On Count I, awarding judgment to the Trustee, pursuant to § 13.1-690, in an

   amount of the sum of the Deferred Compensation Distributions, SERP Distributions, 2017

   401(k) Contributions, 2018 401(k) Contributions, 2017 Dividend Payments, 2017 Bonus


                                                  65
Case 19-34574-KRH       Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                 Desc Main
                               Document    Page 66 of 69



   Payments, 2018 Bonus Payments, SLC Compensation, Banner Payments, ULXP Transaction

   Costs, Alexandria Lease Debt, NLG Damages, and the damages associated with the failure to

   dissolve the Firm in a timely fashion, and directing the Defendant to pay the Trustee an

   amount to be determined at trial, totaling not less than $41.1 million plus interest, plus her

   reasonable attorneys’ fees and costs, pursuant to section 550(a) of the Bankruptcy Code.

        B.        On Count II, awarding judgment to the Trustee, pursuant to common law

   principles of fiduciary duty, in an amount of sum of the Deferred Compensation Distributions,

   SERP Distributions, 2017 401(k) Contributions, 2018 401(k) Contributions, 2017 Dividend

   Payments, 2017 Bonus Payments, 2018 Bonus Payments, SLC Compensation, Banner

   Payments, ULXP Transaction Costs, Alexandria Lease Debt, NLG Damages, and the damages

   associated with the failure to dissolve the Firm in a timely fashion, and directing the Defendant

   to pay the Trustee an amount to be determined at trial, totaling not less than $41.1 million plus

   interest, plus her reasonable attorneys’ fees and costs, pursuant to section 550(a) of the

   Bankruptcy Code;

        C.        On Count III, awarding judgment to the Trustee, pursuant to §§ 13.1-653, 13.1-

   690 and 13.1-692, in an amount of the sum of the Deferred Compensation Distributions, SERP

   Distributions, 2017 Bonus Payments, 2018 Bonus Payments and member distributions, and

   directing the Defendant to pay the Trustee an amount to be determined at trial, plus interest,

   plus her reasonable attorneys’ fees and costs, pursuant to section 550(a) of the Bankruptcy

   Code;

        D.        On Counts IV and VI, awarding judgment to the Trustee, pursuant to Section

   548 of the Bankruptcy Code, in an amount of the transfers of Contingent Income and Member

   Draws and directing the Defendant to pay the Trustee an amount to be determined at trial,


                                                 66
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                Document    Page 67 of 69



   totaling not less than $342,788, plus interest, plus her reasonable attorneys’ fees and costs,

   pursuant to section 550(a) of the Bankruptcy Code;

        E.        On Count V, awarding judgment to the Trustee, pursuant to Section 544 and

   550 of the Bankruptcy Code, Va. Code Sections 55.1-400 and 55.1-401, or pursuant to other

   applicable state fraudulent conveyance or fraudulent transfer law, in an amount of the transfers

   of Contingent Income and Member Draws and directing the Defendant to pay the Trustee an

   amount to be determined at trial, totaling not less than $545,038, plus interest, plus her

   reasonable attorneys’ fees and costs, pursuant to section 550(a) of the Bankruptcy Code;

        F.        On Counts VII and VIII, awarding the Trustee damages in an amount to be

   proven at trial, but in no event less than $786,261;

        G.        On Count IX, awarding judgment to the Trustee, pursuant to Section 544 and

   550 of the Bankruptcy Code, and Va. Code. § 13.1-1035, or pursuant to other applicable state

   law, in an amount of the transfers of Contingent Income and Member Draws and directing the

   Defendant to pay the Trustee an amount to be determined at trial, totaling not less than

   $342,788, plus interest, plus her reasonable attorneys’ fees and costs, pursuant to section

   550(a) of the Bankruptcy Code;

        H.        On Count X, awarding judgment to the Trustee, pursuant to Section 548 of the

   Bankruptcy Code, in an amount of the transfers of the Deferral Payments, and directing the

   Defendant to pay the Trustee an amount to be determined at trial, totaling not less than

   $33,911, plus interest, plus her reasonable attorneys’ fees and costs, pursuant to section 550(a)

   of the Bankruptcy Code;

        I.        On Count XI, awarding judgment to the Trustee, pursuant to Section 544 and

   550 of the Bankruptcy Code, Va. Code Sections 55.1-400, or pursuant to other applicable state


                                                  67
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54              Desc Main
                                Document    Page 68 of 69



   fraudulent conveyance or fraudulent transfer law, in an amount of the transfers of the Deferral

   Payments, and directing the Defendant to pay the Trustee an amount to be determined at trial,

   totaling not less than $33,911, plus interest, plus her reasonable attorneys’ fees and costs,

   pursuant to section 550(a) of the Bankruptcy Code;

        J.        On Count XII and XIV, awarding judgment to the Trustee, pursuant to Section

   548 of the Bankruptcy Code, in an amount of the transfer of the Deferred Compensation

   Payments, and directing the Defendant to pay the Trustee an amount to be determined at trial,

   totaling not less than $207,312, plus interest, plus her reasonable attorneys’ fees and costs,

   pursuant to section 550(a) of the Bankruptcy Code;

        K.        On Count XIII, awarding judgment to the Trustee, pursuant to Section 544 and

   550 of the Bankruptcy Code, Va. Code Sections 55.1-400 and 55.1-401, or pursuant to other

   applicable state fraudulent conveyance or fraudulent transfer law, in an amount of the transfer

   of the Deferred Compensation Payments, and directing the Defendant to pay the Trustee an

   amount to be determined at trial, totaling not less than $207,312, plus interest, plus her

   reasonable attorneys’ fees and costs, pursuant to section 550(a) of the Bankruptcy Code;

        L.        On Count XV, awarding the Trustee the full amount of the preferential transfers

   to the Defendant, totaling not less than $207,312, plus interest, plus the Trustee’s reasonable

   attorneys’ fees and costs;

        M.        On Count XVI, disallowing the D&O Releases under sections 548 and 550 of

   the Bankruptcy Code;

        N.        On Count XVII, avoiding the D&O Releases;

        O.        Awarding the Trustee her costs incurred in connection with this Adversary

   Proceeding, including but not limited to her reasonable attorneys’ fees and costs;


                                                 68
Case 19-34574-KRH        Doc 1036 Filed 09/02/21 Entered 09/02/21 23:10:54                Desc Main
                                Document    Page 69 of 69



        P.        Awarding post-judgment interest at the maximum legal rate running from the

   date of the Judgment until the date the Judgment is paid in full, plus costs;

        Q.        Directing the Defendants to pay forthwith all amounts awarded; and

        R.        Granting such other and further relief as this Court deems just and appropriate.



                                           Respectfully submitted,

                                           LYNN L. TAVENNER, CHAPTER 7 TRUSTEE
                                           /s/ Brittany J. Nelson
                                           Erika L. Morabito (VSB No. 44369)
                                           Brittany J. Nelson (VSB No. 81734)
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                                           LeClairRyan PLLC




                                                  69
